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                     EXHIBIT 5
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                                                                    Page 1

 1                       UNITED STATES DISTRICT COURT

 2                   FOR THE MIDDLE DISTRICT OF ALABAMA

 3                              NORTHERN DIVISION

 4      ________________________________

 5      BRIANNA BOE, et al.,

 6                   Plaintiffs,

 7            v.                                        Case No.

 8      UNITED STATES OF AMERICA,                       2:22-cv-00184-LCB

 9                   Intervenor Plaintiff,

10            v.

11      HON. STEVE MARSHALL, in his

12      official capacity as Attorney

13      General of the State of

14      Alabama, et al.,

15                   Defendants.

16      ________________________________

17

18

19

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21

22           Job No. CS6629188




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                                                          Page 2                                                                  Page 4
 1    VIDEOCONFERENCE DEPOSITION OF FARR CURLIN, M.D. 1                                 INDEX
 2 DATE:          Monday, April 8, 2024                             2 EXAMINATION:                                          PAGE
 3 TIME:         9:03 a.m.                                          3    By Ms. Murphy                                  8
 4 LOCATION:           Remote Proceeding                            4
 5           Durham, NC 27710                                       5                 EXHIBITS
 6 REPORTED BY: Christopher Friebe                                  6 NO.            DESCRIPTION                            PAGE
 7 JOB NO.:        6629188                                          7 Exhibit 1        Dr. Curlin's CV                      15
 8                                                                  8 Exhibit 2        Dr. Curlin's Expert Report                16
 9                                                                  9 Exhibit 3        Book: "The Way of Medicine"                    78
10                                                                 10 Exhibit 4        Article: "Young Adult Psychological
11                                                                 11              Outcome After Puberty Suppression
12                                                                 12              And Gender Reassignment"                  119
13                                                                 13 Exhibit 5        Article: "Sex Reassignment:
14                                                                 14              Outcomes and Predictors of
15                                                                 15              Treatment for Adolescent and Adult
16                                                                 16              Transsexuals"                   120
17                                                                 17 Exhibit 6        Article: " Association of
18                                                                 18              Gender-Affirming Hormone Therapy
19                                                                 19              With Depression, Thoughts of
20                                                                 20              Suicide, and Attempted Suicide
21                                                                 21              Among Transgender and Nonbinary
22                                                                 22              Youth"                       122
                                                          Page 3                                                                  Page 5
  1          APPEARANCES                                            1             E X H I B I T S (Cont'd)
  2 ON BEHALF OF INTERVENOR PLAINTIFF UNITED STATES OF              2 NO.           DESCRIPTION                     PAGE
  3 AMERICA:                                                        3 Exhibit 7      Article: "Access to
  4   AMIE MURPHY, ESQUIRE (by videoconference)                     4             Gender-Affirming Hormones
  5   Department of Justice Civil Rights Division,                  5             During Adolescence and Mental
  6   Housing and Civil Enforcement Section                         6             Health Outcomes Among
  7   Washington, D.C. 20530                                        7             Transgender Adults"            123
  8   amie.murphy2@usdoj.gov                                        8 Exhibit 8      Reuters Article              163
  9   (202) 353-1285                                                9 Exhibit 9      Article: "In Vitro Fertilization
 10                                                                10             Outcomes in a Mouse Model of
 11 ON BEHALF OF DEFENDANTS HON. STEVE MARSHALL, ET AL.:           11             Gender-Affirming Hormone Therapy
 12   ROGER BROOKS, ESQUIRE (by videoconference)                   12             In Transmasculine Youth"          185
 13   Alliance Defending Freedom                                   13 Exhibit 10      Article: "Puberty Suppression
 14   44180 Riverside Parkway                                      14             Followed by Testosterone Therapy
 15   Lansdowne, VA 20176                                          15             Does Not Impair Reproductive
 16   rbrooks@adflegal.org                                         16             Potential in Female Mice"        187
 17   (202) 393-8690                                               17
 18                                                                18       QUESTIONS INSTRUCTED NOT TO ANSWER
 19 ALSO PRESENT:                                                  19                PAGE      LINE
 20   Renee Williams, U.S. DOJ (by videoconference)                20                101      3
 21   Cynthia Weaver, Private Plaintiff's Counsel (by              21                103      6
 22   videoconference)                                             22

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                                                            Page 6                                                       Page 8
 1             PROCEEDINGS                                            1           MS. MURPHY: Thank you.
 2           THE REPORTER: Good morning. My name                      2                 EXAMINATION
 3 is Christopher Friebe; I am the reporter assigned by               3 BY MS. MURPHY:
 4 Veritext to take the record of this proceeding. We                 4     Q   Good morning, Dr. Farr Curlin. As was
 5 are now on the record at 9:03 a.m.                                 5 noted, my name is Amie Murphy, and I represent the
 6           This is the deposition of Dr. Farr                       6 United States in this matter. Have you had your
 7 Curlin taken in the matter of Brianna Boe, et al., and             7 deposition taken before?
 8 United States of America vs. Honorable Steve Marshall,             8     A   I have.
 9 in his official capacity as Attorney General of the                9     Q   How many times?
10 State of Alabama on Monday, April 8, 2024, at Durham,             10     A   I don't know.
11 North Carolina.                                                   11     Q   More than ten?
12           I am a notary authorized to take                        12     A   Probably more than ten. I'm not certain.
13 acknowledgments and administer oaths in Michigan.                 13     Q   That's fine. When was the last time, just
14 Parties agree that I will swear in the witness                    14 approximately, that you had your deposition taken?
15 remotely.                                                         15     A   A couple of months ago.
16           Additionally, absent an objection on                    16     Q   Okay. Well, in that case, I'm going to
17 the record before the witness is sworn, all parties               17 dispense with my usual spiel, where I remind you that
18 and the witness understand and agree that any                     18 you're under oath, and I'm sure you're aware of that.
19 certified transcript produced from the recording of               19 But the one thing I will say is that if you do need a
20 this proceeding:                                                  20 break at any time during this deposition, we will take
21           - is intended for all uses permitted                    21 breaks, but if you need one at an unscheduled time,
22             under applicable procedural and                       22 just let me know and as long as there's no question
                                                            Page 7                                                       Page 9
 1               evidentiary rules and laws in the                    1 pending we can take a break and go off the record.
 2               same manner as a deposition recorded                 2 Understood?
 3               by stenographic means; and                           3     A   Yes, I understand that.
 4             - shall constitute written stipulation                 4     Q   Did you bring any documents with you to your
 5               of such.                                             5 deposition today?
 6             At this time will the counsel please                   6     A   No, I did not bring any documents, but I do
 7 identify yourselves for the record?                                7 have from my attorney here, my CV and my report in
 8             MS. MURPHY: This is Amie Murphy,                       8 hard copy.
 9 representing the United States.                                    9     Q   And are there any notations, handwritten
10             MR. BROOKS: Roger Brooks, with the                    10 notations, on either your CV or the copy of your
11 Alliance Defending Freedom, representing the                      11 report that you have in front of you?
12 defendants.                                                       12     A   No, there are no handwritten notes.
13             THE REPORTER: Thank you. Hearing no 13                       Q   Okay. And does that appear to be a true and
14 objection, I will now swear in the witness.                       14 correct copy of the CV and report that you submitted
15             Please raise your right hand.                         15 in this case?
16 WHEREUPON,                                                        16     A   Yes, it does appear to be a -- the copy of
17               DR. FARR CURLIN,                                    17 the CV and the report that I submitted in this case.
18 called as a witness and having been first duly sworn 18                  Q   And since we're not in the same room, can
19 to tell the truth, the whole truth, and nothing but               19 you just tell me if there's any other documents in
20 the truth, was examined and testified as follows:                 20 front of you?
21             THE REPORTER: Thank you.                              21     A   No, there are no other documents in front of
22             Counsel, you may now proceed.                         22 me.

                                                                                                             3 (Pages 6 - 9)
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 1    Q    Okay. Did you do anything to prepare for                  1     A   What I recall is through my work as a
 2 today's deposition?                                               2 medical ethicist at some point years ago, becoming
 3    A    Yes, I did.                                               3 aware that there was the phenomenon of gender
 4    Q    What did you do?                                          4 dysphoria and there were ethical questions that were
 5    A    I reviewed my report in detail, and I                     5 being raised about how to respond to that. How to
 6 reviewed some of the documents I cite in the report.              6 understand it.
 7 I also met with Mr. Brooks to talk about the                      7     Q   And are you familiar with the definition in
 8 deposition process, and -- and then I reviewed my                 8 the DSM-5 text revision version of gender dysphoria?
 9 note -- not my notes, but my highlighted areas on my              9     A   I couldn't cite it chapter and verse, but I
10 report again.                                                    10 am familiar with it in the sense that I have reviewed
11    Q    And apart from the lawyers in this case, did             11 it and know the -- that there is such definition.
12 you speak with anyone in preparation for your                    12     Q   And are you aware whether the condition
13 deposition?                                                      13 described as gender dysphoria has ever been known by
14    A    No, I did not.                                           14 another term?
15    Q    So before we go any further, I want to make              15           MR. BROOKS: Objection.
16 sure we have the same understanding on some terms that           16     A   I -- I am aware that terms used in this
17 I'm going to use throughout this deposition. So                  17 context regarding self-perceived gender and -- and
18 first, let's talk about gender dysphoria. How would              18 what that perception implies have been shifting and
19 you define gender dysphoria?                                     19 changing over time. I do not recall what term was
20    A    I define gender dysphoria as dysphoria                   20 used before gender dysphoria.
21 experienced at the perception that one's secondary sex           21     Q   Okay. In that case, can we agree when I use
22 characteristics are at odds with one's own sense of              22 the term gender dysphoria, I'm referring to the
                                                          Page 11                                                            Page 13
 1 gender.                                                           1 condition that's described in the DSM-5-TR for
 2     Q     And since you used the term dysphoria in                2 purposes of this deposition?
 3 your definition, can you explain what you mean by                 3     A     Since you want me to accept that that's the
 4 dysphoria?                                                        4 definition you're using, would you read that
 5     A     Dysphoria means just bad feeling. So                    5 definition to me?
 6 it's -- it's some collection of sadness, anxiety,                 6     Q     I can, although I am actually -- what don't
 7 being upset, feeling bad. It -- it's a broad term.                7 we do this? Why don't we go with your understanding
 8     Q     And when did you become familiar with the               8 of the term gender dysphoria for purposes of this
 9 term gender dysphoria?                                            9 deposition? Does that make sense?
10     A     I -- I don't recall when I first became                10     A     I think so, yes.
11 familiar with the term.                                          11     Q     I think so, too. In your report, you refer
12     Q     Would you say that it was in the context of            12 to medicalized gender transition treatment or NGT.
13 your clinical practice that you became familiar with             13 You use this acronym throughout your report; correct?
14 the term?                                                        14     A     Yes, I use that abbreviation throughout the
15     A     No, I would not say it was in the context of           15 report.
16 my clinical practice.                                            16     Q     And how do you define NGT?
17     Q     So what's your recollection there?                     17     A     As I think I said in the report, I define it
18     A     I'm sorry, what -- what do you mean what is            18 as -- I use the abbreviation to refer to the use of
19 my recollection there?                                           19 puberty-blocking drugs and cross-sex hormones as
20     Q     Sorry, that was a bad question. So what do             20 treatments for gender dysphoria.
21 you recall about your becoming familiar with the term21                 Q     And are you aware of the term
22 gender dysphoria?                                                22 gender-affirming care?

                                                                                                              4 (Pages 10 - 13)
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                                                      Page 14                                                               Page 16
 1     A    Yes, I am aware of the term gender-affirming         1 it as an exhibit.
 2 care.                                                         2 BY MS. MURPHY:
 3     Q    And how would you define that?                       3     Q    And, Dr. Curlin, I believe you have a copy
 4     A    Gender-affirming care is a euphemism that            4 of your CV in front of you. And you indicated that
 5 has been used to refer, for example, in, as I recall,         5 it's the same as the copy that you submitted with your
 6 in the Rhafferty-authored piece by the American               6 report. I submit to you that that's the only copy we
 7 Academy of Pediatrics, to an approach that takes the          7 have of your CV, so that's the one that I'd like to
 8 perception of one's secondary sex characteristics             8 mark as Exhibit 1 in this case.
 9 being at odds with one's gender identity, so called,          9         I have some questions on it. If you would
10 to be rightly responded to through medicalization            10 like to refer to it to answer my questions, that's
11 through either -- through puberty-blocking hormones 11 fine with me. As we sit here today, are there any
12 and/or cross-sex hormones.                                   12 changes that you would make to the copy of the CV that
13     Q    So can you explain to me what the difference 13 we've marked as Exhibit 1?
14 is between those two terms?                                  14     A    There are no changes as of when it was sent
15            MR. BROOKS: Objection.                            15 to you that I would propose to add.
16     A    Gender-affirming care is a euphemism. It's          16            MS. MURPHY: Okay. And then now
17 imprecise, insofar as it does not specify whether            17 similarly, I'd like to mark a copy of Dr. Curlin's
18 medicine is involved and it does not specify what one 18 expert report that he submitted in this case as
19 takes the gender to be. Medicalized gender transition 19 Exhibit 2.
20 is an abbreviation I use in this report to not have to       20            (Exhibit 2 was marked for
21 repeat multiple times puberty-blocking hormones and 21                     identification.)
22 cross-sex hormones used in the context of perception 22 //
                                                      Page 15                                                               Page 17
 1 of one's secondary sex characteristics being at odds          1 BY MS. MURPHY:
 2 with one's perceived gender identify.                         2     Q   And, you know, we don't need to pull it up
 3         The key idea is that medicalized specifies            3 right now, but I ask that since it sounds like you
 4 that you're taking that perception and treating it as         4 have a copy that you submitted to us in this case and
 5 a medical problem, to which medical interventions,            5 I submit to you that that's the copy that we'd like to
 6 namely this -- puberty-blocking drugs and cross-sex           6 mark as Exhibit 2, that if you want to refer to your
 7 hormones are -- are the appropriate responses.                7 report as I am asking questions about particular
 8     Q    Now that we -- I'd like to start with a              8 paragraphs, that's fine. I understand that you have
 9 couple questions from your CV.                                9 it in front of you; correct?
10            MS. MURPHY: So I'd like to mark as                10     A   Yes, that's correct.
11 Exhibit 1, a copy of Dr. Curlin's CV.                        11     Q   Excellent. Same question I asked about your
12            (Exhibit 1 was marked for                         12 CV. Are there any changes that you would make to your
13            identification.)                                  13 report as we sit here today?
14            MS. MURPHY: I'm just marking a copy of 14                A   No, there are no changes that I would make.
15 the CV. Do I need to have Andrew pull it up in order 15             Q   Okay. So turning first to your CV, you
16 to do that?                                                  16 obtained your undergraduate degree in biology from UNC
17            THE REPORTER: No, you can just tell me 17 Chapel Hill; correct?
18 you want it marked, and then it's up to you if you           18     A   Yes, I obtained my undergraduate degree in
19 want to show it or not. Then basically you only need 19 biology from UNC Chapel Hill.
20 to introduce it as an exhibit if you want it attached        20     Q   And during your undergraduate studies, did
21 to the transcript.                                           21 you complete any coursework on psychology?
22            MS. MURPHY: So I do want to introduce 22                 A   I do not recall. Let me say I do not recall

                                                                                                          5 (Pages 14 - 17)
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 1 what the coursework was. I know I had some -- some 1 medicine's intrinsic and constituent purpose is
 2 introduction to psychology, but I don't remember the          2 preserving and restoring the patient's health.
 3 details.                                                      3 Insofar as one reasonably can, responsive also to the
 4    Q       Do you recall whether any portion of that          4 broader demands of morality, of ethics.
 5 class related to gender identity?                             5     Q     And how long have you held that view?
 6    A       I do not recall whether it related to gender       6     A     Two my knowledge, I've held that view
 7 identity.                                                     7 throughout my life.
 8    Q       And do you recall whether any portion of           8     Q     Can you point to anything that influenced
 9 that class or classes that you took in psychology             9 your thinking on that subject?
10 related to psychology specific to adolescents?               10     A     Well, I watched the work of my father, as a
11    A       I do not recall that in any detail.               11 physician. I saw family members being cared for by
12    Q       And during the same timeframe, did you            12 medical professionals. I myself, on some rare
13 complete any coursework on psychiatry?                       13 occasions, was under the ministrations of medical
14    A       As an undergraduate, I had no coursework          14 professionals. I read stories about medical
15 specifically on psychiatry.                                  15 professionals. And all of that, I think, reflected
16    Q       So after undergrad, you attended medical          16 the reality that the thing that makes medical
17 school at UNC Chapel Hill; is that correct?                  17 professionals medical professionals is that they are
18    A       Yes. After undergraduate, I went to medical 18 attending to those whose health is threatened or
19 school at the University of North Carolina at Chapel 19 diminished or injured in some way and seeking, insofar
20 Hill.                                                        20 as they reasonably can, to preserve and restore their
21    Q       What made you choose to go to medical             21 health.
22 school?                                                      22     Q     And as you describe that goal, would you say
                                                      Page 19                                                              Page 21
 1    A       Well, it's complex and I don't profess to          1 that that is in line with the teachings in medical
 2 fully understand why, but I was conscious of finding          2 school?
 3 that the work of attending to those who are sick is           3     A      Well, it's really too broad of a question to
 4 intrinsically valuable, meaningful. I had observed it         4 answer. There are lots of teachings in medical
 5 to be such in the practice of my grandfather, who was 5 school. But generally, yes, that is consistent with
 6 a general surgeon, and my father who was an                   6 the teachings of medical school. There are some
 7 obstetrician/gynecologist.                                    7 teachings that are made in some medical schools by
 8         And I found that I enjoyed the study of the           8 some medical educators that I think are not consistent
 9 sciences, particularly the sciences relevant to human         9 with that understanding.
10 experience, and that I enjoy the humanities. And that 10            Q      How so?
11 medicine was a field that allowed me -- invited me to 11                     MR. BROOKS: Objection.
12 commit myself to something worthwhile to something12                A      Well, sometimes medical -- medical educators
13 that was objectively good, namely preserving and             13 will suggest that the goal of medicine is to do what
14 restoring the health of human beings, that was               14 patients want. And that if a patient wants something,
15 intellectually interesting, and my -- my interest with 15 then the physicians have a professional obligation to
16 respect to science and with respect to the humanities. 16 provide it, so long as they're not violating the law.
17         And for all those reasons, and I'm sure many         17 That's one example.
18 others, I chose to pursue becoming a physician.              18     Q      And do you agree or disagree with that
19    Q       And you started to touch on this a bit, but       19 example?
20 if you could elaborate, what is your view on the             20     A      With the view I just described, I disagree.
21 purpose of medicine?                                         21     Q      Going back to the coursework that you did in
22    A       My view on the purpose of medicine is that        22 medical school. Did you complete any coursework on

                                                                                                          6 (Pages 18 - 21)
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 1 psychology?                                                      1     Q     So at some point I assume you completed
 2    A    I recall that we had coursework on                       2 clinical rotations as part of medical school?
 3 psychology, but I don't recall the details.                      3     A     Yes, as part of medical school I completed
 4    Q    And did any of that coursework specifically              4 clinical rotations.
 5 involve diagnosing mental health conditions?                     5     Q     What did you do your rotations in?
 6    A    We did have coursework, yes, on diagnosing               6     A     I'm sorry, I didn't understand what you
 7 mental health conditions.                                        7 said. Can you repeat that?
 8    Q    And were these courses that were part of the             8     A     Let me ask this first. How many rotations
 9 general path to a degree in medicine, or were they               9 did you do?
10 so-called electives?                                            10     A     I don't recall the number of rotations that
11    A    Well, there were both types of courses, but             11 we did.
12 certainly our required coursework included coursework           12     Q     What type of rotations did you do and in
13 on diagnosing mental health conditions.                         13 what area were your rotations?
14    Q    And did you take any coursework on top of               14     A     As best as I can recall, during our first
15 that, like maybe some electives?                                15 clinical year, third year of medical school, we did
16    A    I don't recall.                                         16 rotations in internal medicine, surgery, obstetrics
17    Q    Did any of the coursework that you completed            17 and gynecology, psychiatry, family medicine, and
18 involve discussion of gender identity?                          18 pediatrics. And there may have been something else
19    A    I don't recall any coursework during medical            19 that I don't remember at this moment.
20 school talking about what you -- using the language of          20     Q     And did you choose which rotations to do?
21 gender identify. I, of course, don't know what you              21     A     In that first clinical year, we had very
22 mean when you say "gender identity," but I do not               22 little choice. I don't recall if we had some choice
                                                         Page 23                                                             Page 25
 1 recall that language being used in our coursework in             1 on the margins, but for the most part, no.
 2 medical school.                                                  2    Q    Okay. And did you do a second year of
 3     Q    What's your understanding of the term                   3 clinical rotations?
 4 "gender identity"?                                               4    A    Yes, I did a fourth year of medical school,
 5     A    My understanding is that term is used by                5 which includes clinical rotations.
 6 different people in different ways. I don't -- I                 6    Q    And what were the rotations that you
 7 don't use the term if I can avoid it, because I --               7 completed that year?
 8 it's so non-specific, particularly in the context like           8    A    Likewise, I don't recall, except I know I
 9 this.                                                            9 did rotations in internal medicine, particularly.
10     Q    Okay. Did any of the coursework that you               10    Q    And do you recall whether any of the
11 completed in psychology involve any discussion of               11 patients that you saw during your rotations had a
12 diagnosing gender dysphoria?                                    12 diagnosis of gender dysphoria?
13     A    I don't have any memory of the coursework in 13              A    I don't recall seeing a patient who had what
14 medical school including coursework on diagnosis of 14 today would be called gender dysphoria. At least not
15 gender dysphoria.                                               15 one that was coded as such clinically.
16     Q    Did you take any courses in psychiatry?                16    Q    And during that time did you see a patient
17     A    Yes, as I said before, we had courses                  17 who had concerns over their gender identity?
18 involving psychiatry.                                           18    A    Depends on what you mean by the term "gender
19     Q    Now apart from what we've already discussed, 19 identity."
20 did you take any other courses that included any                20    Q    Did any patients express concerns, distress,
21 discussion of gender dysphoria?                                 21 over the congruence of their sense of their sex and
22     A    I do not recall.                                       22 the sex that they were assigned at birth?

                                                                                                            7 (Pages 22 - 25)
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                                                           Page 26                                                             Page 28
 1     A    I -- I don't recall.                                      1 conditions.
 2     Q    So after medical school, you completed your               2     Q   So as an internal medicine physician, do you
 3 residency at University of Chicago; correct?                       3 diagnose mental health conditions?
 4     A    Yes. After medical school I completed a                   4     A   Yes. We frequently diagnose mental health
 5 residency in internal medicine at the University of                5 conditions in internal medicine.
 6 Chicago.                                                           6     Q   During your residency, can you describe the
 7     Q    And what is internal medicine?                            7 patient population that you treated?
 8     A    Internal medicine is a discipline of                      8     A   I can only describe it in broad strokes
 9 clinical medicine that focuses on non-surgical                     9 because it was so diverse. But it was adult patients
10 conditions and treatments of adults.                              10 who were experiencing illnesses of one form or another
11     Q    So when you say "adults," is that anyone                 11 in both the out -- I saw them in both the outpatient
12 over the age of 18?                                               12 and the inpatient context. The conditions ranged all
13     A    With respect to the clinical practice, the               13 over the map.
14 boundary is essentially someone who is physically                 14     Q   And were any of the patients that you saw
15 mature. So we don't have a sharp boundary on the age.             15 diagnosed with gender dysphoria?
16 But -- but we don't generally take care of children.              16     A   I don't recall any patient specifically that
17     Q    Okay, understood. Can it sometimes include               17 carried a diagnosis of what today is called gender
18 adolescents?                                                      18 dysphoria.
19     A    On rare occasions.                                       19     Q   Were there any patients who displayed
20     Q    What made you choose internal medicine?                  20 symptoms that you would consider similar to the
21     A    I was attracted to the comprehensiveness and             21 symptoms described by gender dysphoria?
22 "systematicness" of the culture of internal medicine              22     A   There were certainly patients who had
                                                           Page 27                                                             Page 29
 1 and the way that internal medicine was characterized               1 perceptions of their body as being unwanted. Features
 2 by trying to understand all that comes into a                      2 of their body being things they didn't want and that
 3 patient's experience of illness, the way that it                   3 they wished were different.
 4 blends, psychology, and physiology, and clinical                   4     Q    And did you treat those patients for that
 5 judgment in areas of uncertainty. It involves                      5 condition?
 6 longitudinal relationships with patients.                          6     A    I would, in those cases -- and here I'm
 7         I was attracted by the way it -- it                        7 speaking generally; I'm not speaking about a
 8 characteristically seeks to understand root causes of              8 particular case. But I would have expressed sympathy
 9 peoples' illnesses and to try to thoroughly                        9 and then sought to discern first was there anything
10 investigate, to try to understand the contributors to             10 wrong with their body medically and -- or whether it
11 complex medical experiences that patients have. And I             11 was their perception of their body that was -- that
12 was attracted to some of the teachers I had in                    12 was disordered. And if it were the latter, I would
13 internal medicine who were, to me, exemplars of a good            13 seek to reassure them that their -- best I could tell,
14 physician.                                                        14 there was not a problem with the health of their body
15     Q    Okay. What types of conditions did you                   15 and help them go on as best they could, despite the
16 treat during your residency?                                      16 experience of wishing their body were different.
17     A    Well, I treated all manner of conditions,                17     Q    And am I correct that you've never made, or
18 accepting that I did not conduct any major surgery. I             18 at least during that timeframe, you didn't make a
19 saw pretty much -- well, I saw all manner of other                19 diagnosis of gender dysphoria?
20 conditions.                                                       20     A    To -- to the best of my recollection, I
21     Q    Does that include mental health conditions?              21 never made a diagnosis of gender dysphoria.
22     A    Yes, it definitely includes mental health                22     Q    And as you described those symptoms in

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  1 answering my last question, was there a diagnosis that             1 program chose an area to focus on. What was your area
  2 you made to describe those symptoms?                               2 that you chose?
  3             MR. BROOKS: Objection, calls for                       3     A   I chose to focus on what characteristics of
  4 speculation.                                                       4 persons and characteristics of their experiences
  5     A    Yeah, I -- I would have to think of a                     5 result in them working in underserved communities.
  6 particular case, and I don't have detailed memories of             6 That's how I began my -- my fellowship. And then over
  7 particular cases from 25 years ago.                                7 the course of the first year of my fellowship, I moved
  8     Q    Okay. Moving on to the fellowships that you               8 to seeking to understand how religious commitments
  9 completed after your residency. The first was the                  9 feature in -- in decisions to work among the
 10 Robert Wood Johnson Clinical Scholars program;                    10 underserved. And then with the encouragement of my
 11 correct?                                                          11 mentors, to study the religious characteristics of
 12     A    Yes, that's -- the first fellowship I                    12 physicians and to look more broadly at how those
 13 completed after residency was the Robert Wood Johnson             13 characteristics account for, empirically, differences
 14 Clinical Scholars Program.                                        14 in physicians, clinical practices, and in their --
 15     Q    And how long was that program?                           15 their beliefs regarding their practices of medicine.
 16     A    That program was two years.                              16     Q   And did your work culminate in a written
 17     Q    And can you describe what the program                    17 publication?
 18 entailed?                                                         18     A   Yes, the work culminated in a number of
 19     A    The Robert Wood Johnson Clinical Scholars                19 written publications.
 20 Program was a program that allowed competitive                    20     Q   And are those listed on your CV?
 21 applicants who were selected to spend two years                   21     A   Yes, they are, to my knowledge.
 22 developing their own area of scholarship regarding                22     Q   Can you point to them, please?
                                                            Page 31                                                              Page 33
  1 health services, which is a term that encompasses,                 1     A    Point to them how?
  2 effectively, all of the practice of medicine except                2     Q    Tell me what they are.
  3 for the biomedical scientific piece.                               3     A    Oh. Are you asking specifically the
  4         So whether that's epidemiology, policy,                    4 publications that emerged from the work -- that
  5 ethics, questions of how healthcare is distributed,                5 emerged during my fellowship or that emerged
  6 and so on. And the -- effectively, what we did was                 6 eventually from the work in my fellowship?
  7 begin to study the topic we were interested in with                7     Q    Start with the former.
  8 mentors, who were supported by the -- the -- the                   8     A    Okay. So my first paper, peer-reviewed
  9 program, and take coursework and gain other training               9 paper, number 1 on my CV, is one. And I actually
 10 that would help us do the kind of scholarship that we             10 don't recall, because I don't have the date in front
 11 proposed to do with rigor and with methodological and             11 of me, whether number 2 came out while I was still a
 12 analytical excellence. And basically learn how to                 12 fellow or after I had joined the faculty.
 13 become and begin to become what in medicine are called            13     Q    Okay. And these are on page 7 of your CV;
 14 clinician investigators.                                          14 correct?
 15     Q    Can you define that term for me, please?                 15     A    Page 12.
 16 Clinical -- sorry, go ahead.                                      16     Q    Let me make sure. Okay, all right, I got it
 17     A    The -- a clinician investigator is someone               17 now. So numbers 1 and 2 on page 12?
 18 trained as a clinician and generally who continues to             18     A    That's correct. And I am checking to see if
 19 practice as a clinician, who also is trained as and               19 any of the non-peer-reviewed publications occurred
 20 practices as an investigator, a researcher, a scholar             20 during my fellowship, and I do not believe they did.
 21 of some form.                                                     21     Q    You indicated that you did clinical work
 22     Q    Okay. And you said that students in this                 22 related to that fellowship. Is that listed under your

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  1 clinical practice in your CV? Let me ask it a                     1 issues that emerge from clinical practice of medical
  2 different way.                                                    2 practitioners, rather than on issues such as, let's
  3         Is that the Lawndale Christian Health                     3 say, environmental ethics that are not -- that don't
  4 Center?                                                           4 emerge directly from clinical medicine.
  5     A    When I was -- during my time as a fellow, as             5     Q     And during that fellowship, did you have a
  6 a Robert Wood Johnson clinical scholar, I did see                 6 specific area of focus?
  7 patients at the Lawndale Christian Health Center.                 7     A     No. That fellowship was -- my focus was on
  8 Federally funded community health center on the west              8 learning the field of medical ethics.
  9 side of Chicago.                                                  9     Q     And is the -- I'm sorry, you pronounce it
 10     Q    Okay. I'm going to ask a couple questions               10 MacLean?
 11 about that in a bit, but first a couple questions                11     A     I pronounce it MacLean.
 12 about the second fellowship that you did at the                  12     Q     Okay. I apologize. I'm from Virginia, and
 13 MacLean Center for Medical Ethics. You completed a               13 the next town over is spelled the same but pronounced
 14 fellowship there from 2003 to 2004; is that right?               14 MacLean. So in my head I keep confusing the two.
 15     A    That's right. That's the MacLean Center for             15         Is the MacLean Center secular or is there a
 16 Clinical Medical Ethics, just to be precise. And yes,            16 religious affiliation?
 17 I completed that from 2003 to 2004.                              17     A     The MacLean Center has no religious
 18     Q    And actually, before I get more details on              18 affiliation.
 19 that, when did you first become interested in the area           19     Q     And your fellowship, did it have a religious
 20 of clinical medical ethics?                                      20 focus?
 21     A    I don't recall. I think I was always                    21     A     No, I completed the MacLean Center Clinical
 22 interested in ethics of medicine.                                22 Medical Ethics fellowship, and so it had no religious
                                                           Page 35                                                        Page 37
  1     Q     Was there a particular motivation for your              1 focus, although religious ideas were addressed insofar
  2 interest in that area?                                            2 as they were part of the ideas at stake in medical
  3     A     Well, I -- I wanted to practice good                    3 ethics.
  4 medicine and avoid practicing bad medicine. I found 4                   Q     Okay. So then after that fellowship, you
  5 reasoning about how we ought to practice, interesting, 5 participated in the Summer Institute for Survey
  6 stimulating, and worthwhile. So that was all -- I                 6 Research Methods; correct?
  7 don't have memory of that not being the case at any               7     A     That's correct, yes. I --
  8 point in my medical training.                                     8     Q     And what --
  9     Q     So going back to the fellowship, can you                9     A     -- Summer Institute for Survey Research
 10 describe what that was about?                                    10 Methods at the University of Michigan.
 11     A     The MacLean Center for Clinical Medical                11     Q     And what was that --
 12 Ethics fellowship is a premier training program,                 12     A     Sorry, repeat that, please?
 13 primarily for physicians, started by Mark Siegler, The 13               Q     What was the program about?
 14 University of Chicago. And its focus is on -- it's a             14     A     That program is designed to equip people who
 15 part-time fellowship that I completed during my first 15 are using survey research methodologies in their
 16 year on faculty, and its focus is on training fellows            16 empirical research, to -- to do so expertly and using
 17 in the history of medical ethics, as that field came             17 the best available methods.
 18 to be self-consciously and developed from the -- the 18                 Q     And what was your purpose in completing that
 19 1960s to present, introducing them to the key                    19 program?
 20 participants in that field, to the key arguments made, 20               A     I had, at that point, begun to study
 21 concepts used, the legal cases that have had import,             21 physicians' religious characteristics and how those
 22 and so on. All with an emphasis on the kinds of                  22 are associated with their clinical practices and ideas

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  1 about their practices and was beginning to use and                1     Q    How does it differ?
  2 intended to further use survey research methods. And              2     A    So palliative medicine, which is the term I
  3 so I went and completed that Summer program to get                3 will use as it's more precise, again, is defined, I
  4 further training on how to do that well. That being               4 think, in the way I described. People experience
  5 conduct well-designed surveys that can answer the                 5 difficult symptoms with advanced illness of all sorts,
  6 questions one was trying to answer.                               6 and that's what palliative medicine does, is address
  7     Q   And then in 2008, you participated in the                 7 those symptoms, and address the -- the challenging
  8 Palliative Care Education and Practice program;                   8 clinical decisions that have to be made as one deals
  9 correct?                                                          9 with advanced illness.
 10     A   Yes. I completed the Palliative Care                     10         Hospice, by contrast, is a way of
 11 Education and Practice program at Harvard University,            11 structuring how medicine is organized and paid for.
 12 yes.                                                             12 And in the case of hospice, it is for patients who
 13     Q   And can you describe that program?                       13 have, according to the judgment of at least two
 14     A   That program was designed for people in                  14 physicians, a prognosis of six months or less to live.
 15 academic institutions who were practicing palliative             15 Hospice is a way that the remaining care they receive
 16 medicine, to give them further training and cohort               16 can be organized and financed.
 17 regarding palliative medicine and all of its various             17         So in one sense, hospice is -- is an
 18 dimensions, including how to teach palliative                    18 insurance benefit of Medicare that has corollaries and
 19 medicine.                                                        19 private insurance benefits, but it's fundamentally a
 20     Q   What prompted your interest in palliative                20 way of organizing medical care. And that medical care
 21 medicine?                                                        21 includes palliative medicine, but it includes other
 22     A   I practiced general internal medicine for                22 aspects of medicine also.
                                                           Page 39                                                             Page 41
  1 the first several years out of training, and at some              1     Q    Got it. So apart from any continuing
  2 point it dawned on me that the context of clinical                2 medical education that you may have completed, have we
  3 practice in which I most came alive was in caring for             3 discussed all the training that you have completed
  4 very sick people, and particularly people who were                4 with respect to -- let me withdraw that. That was a
  5 facing the limits of medicine or at the end of life.              5 bad question.
  6 And that I enjoyed helping them negotiate the clinical 6                    Apart from any continuing medical education
  7 ethical challenges of such situations, and I enjoyed              7 that you may have completed, have we discussed all
  8 teaching students and other trainees about that,                  8 medical-related training that you've received?
  9 and -- and then when palliative medicine as a field               9     A    Well, yes and no. Yes, that's the extent of
 10 began to mature and it first came to University of               10 the formal education courses, other than various ad
 11 Chicago, I was one of those who raised my hand, so to11 hoc and continuing medical education-related courses.
 12 speak, to join a group of folks who were learning that 12 But the training regarding clinical medicine is --
 13 practice and developing that discipline at the                   13 goes on in multiple ways that are not limited to such
 14 University of Chicago.                                           14 coursework.
 15     Q      How would you define palliative medicine?             15     Q    Understood. So other than what we've
 16     A      Palliative medicine is that subspecialty of           16 already discussed, have you completed any specialized
 17 medicine that develops particular expertise regarding 17 training in psychology?
 18 and focuses clinically on the relief of difficult and            18     A    Well, I have participated in and completed
 19 health-diminishing symptoms.                                     19 conferences and symposia that address psychology
 20     Q      Is palliative care the same as hospice care?          20 relevant to medicine innumerable times over the course
 21     A      Palliative care is not the same as hospice            21 of my clinical practice. So in that respect -- so I
 22 care, no.                                                        22 have done that.

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  1     Q    And are all of the symposia and conferences            1             MR. BROOKS: Objection.
  2 that you're referring to there, are they listed on              2     A    To the best of my recollection, they were
  3 your CV?                                                        3 presenting why they thought such -- what they were
  4     A    No, they are not listed on my CV. It's not             4 doing and why they thought such puberty blockade and
  5 customary to list such things on one's CV.                      5 cross-sex hormones was a good thing to do for certain
  6     Q    Do any of those conferences or symposia that           6 patients.
  7 you're referring to relate to the issue of gender               7     Q    Okay. And I know that you said that you
  8 dysphoria?                                                      8 can't remember when this was, but what was your
  9     A    Yes. I don't recall how many, but yes.                 9 employment at the time?
 10     Q    And would you say that there were more                10     A    I was here at Duke University.
 11 than -- let me ask it this way.                                11     Q    Okay. Have you attended any other
 12         Were there any symposium or conferences that 12 conferences or symposia related to the issue of gender
 13 were specifically about the issue of gender dysphoria? 13 dysphoria?
 14     A    Yes, there were. And I likewise don't                 14     A    Yes, I have. My pause is to try -- is
 15 recall how many.                                               15 because the -- the language of conferences is -- is
 16     Q    And you don't remember any of the names of 16 somewhat imprecise within the world of medicine. We
 17 these conferences or symposia?                                 17 are having meetings and discussions frequently about
 18     A    I -- I remember one, for example, was put on 18 the issues that arise in clinical medicine and
 19 by the leader of the so-called gender clinic here at           19 clinical ethics. But yes, I've had other context
 20 Duke University.                                               20 where -- that focused on the issue of gender
 21     Q    And approximately when was that that you              21 dysphoria.
 22 attended that -- was it a conference or was it a               22     Q    Okay. But you're referring more to meetings
                                                         Page 43                                                            Page 45
  1 symposia?                                                       1 or discussions, not necessarily conferences dedicated
  2    A    It was a -- it was a mid-day conference.                2 to that topic?
  3 And I don't recall how many years ago that was.                 3             MR. BROOKS: Objection.
  4    Q    Can you describe the subjects that were                 4     A    So I'm -- I recall -- well, right now I
  5 discussed during that conference?                               5 recall one other meeting that -- well, two meetings
  6    A    I recall that the subject of gender                     6 that were called specifically to focus on that
  7 dysphoria was discussed, as well as the subject of              7 subject.
  8 puberty blockade and cross-sex hormones. I know that            8     Q    And was this also while you were at Duke?
  9 much, but I don't recall more details.                          9     A    Yes, this was while I was at Duke.
 10    Q    And was the focus of that discussion or                10     Q    And what was the focus of those meetings?
 11 those discussions, was it aimed at achieving a certain         11     A    Both of these meetings are described in my
 12 purpose?                                                       12 expert report. One was a meeting -- the people
 13    A    I -- I can't speculate about what the                  13 gathered by the Greenwall Foundation Faculty Scholars
 14 purpose was that those who put on that conference were         14 Program last fall and focused on ethical questions
 15 trying to achieve.                                             15 that remain regarding -- I'd have to look at my report
 16    Q    Were the presenters opposed to prescribing             16 to remember the precise title, but regarding
 17 those types of treatments for patients with gender             17 medicalization of -- of -- medicalized responses to
 18 dysphoria?                                                     18 gender dysphoria.
 19    A    In that conference, no, they were not                  19         The second was a -- a faculty conference of
 20 opposed.                                                       20 the faculty of the Transfer for Bioethics, Humanities,
 21    Q    Were they in favor of prescribing those                21 and History of Medicine to talk about similar
 22 types of treatments for someone with gender dysphoria?         22 questions.

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  1     Q    Okay. And when you say that they're listed         1     A    I had been drawn to Chicago as a place to
  2 in your report, are you talking about the CV portion        2 train because I wanted to work among the underserved
  3 of your report or are you talking about the body of         3 and had heard about the pioneering work among the
  4 your report?                                                4 undeserved led by the Lawndale Christian Health
  5     A    I'm talking about the body of my report.           5 Center. And I spoke Spanish and my fiance, soon to be
  6     Q    Okay. I know it may take you a minute to           6 wife, spoke Spanish, and we could live in a
  7 look through, but could you direct me to the portion        7 Spanish-speaking inner-city neighborhood while
  8 of your report where you discuss these?                     8 learning from physicians who were -- had devoted their
  9            MR. BROOKS: And Counsel, if we could             9 lives to practicing medicine among the underserved.
 10 take a short break in the near future, that would be       10 And so I chose to live there while training at the
 11 great.                                                     11 University of Chicago, and then was able to negotiate
 12            MS. MURPHY: Sure.                               12 being able to see patients there during my fellowship.
 13            THE WITNESS: If you look at paragraph           13     Q    And can you tell me about the mission of
 14 49 and 50, I refer to these two meetings.                  14 that center?
 15            MS. MURPHY: Okay. Counsel, if you               15     A    I don't recall the mission exactly, but I
 16 want to take a short break, now is a good time. Would16 know it has something to do with something like
 17 you say you want five minutes, ten minutes?                17 showing the love of Christ through caring for patients
 18            MR. BROOKS: Every time anybody says             18 with excellence. Something like that.
 19 five, it takes ten. So let's just do that.                 19     Q    And what role did Christianity play in the
 20            MS. MURPHY: I agree. Okay.                      20 care that patients received in the clinic?
 21            MR. BROOKS: All right.                          21     A    Well, it -- it was the primary motivation
 22            THE REPORTER: All right, the time is            22 for these physicians and nurses to work with a
                                                     Page 47                                                             Page 49
  1 10:16 a.m. We are now off the record.                       1 population of patients that was marginalized with
  2            (Off the record.)                                2 respect to healthcare resources because of their
  3            THE REPORTER: The time is 10:26 a.m.             3 economic and other forms of poverty, including their
  4 We are now back on the record.                              4 immigration status. And so it was strongly motivated
  5 BY MS. MURPHY:                                              5 by a Christian vision of our common humanity, that
  6     Q    Okay. Dr. Curlin, I'm going to move on to          6 everyone being made in the image of God has dignity,
  7 just a couple questions about your clinical practice.       7 and that those who are poor receive what in the
  8 It looks like you began your clinical practice in           8 Christian condition is often called the
  9 2001, as a primary care internist at the Lawndale           9 preferential -- preferential option for the poor,
 10 Christian Health Center; is that correct?                  10 meaning they deserve particular regard, particular
 11     A    Well, I began my clinical practice in             11 emphasis, particular priority.
 12 training. We have -- had a continuity clinic. But I        12         And so that whole vision of caring well for
 13 continued it post-training in that context.                13 people who characteristically struggle to find good
 14     Q    Got it. So where is the Lawndale Christian        14 medical care was grounded in that Christian tradition.
 15 Health Center located?                                     15     Q    And were choices in treatment options
 16     A    The Lawndale Christian Health Center is           16 influenced by Christian values?
 17 located on the west side of Chicago, not far from the 17          A    I'm sure they were in any number of ways.
 18 Cook County Jail, in the -- right at the juncture          18 For example, you know, people would go the extra mile
 19 between the North Lawndale and South Lawndale              19 to make sure the patients were able to be seen by
 20 neighborhoods.                                             20 specialists that they otherwise could not be seen by
 21     Q    And what prompted your decision to work           21 because of those same Christian values I just
 22 there?                                                     22 described.

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  1           They would seek to make sure that all that                1     A   I'm sure they did, but I -- I did not see
  2 is -- all that good medicine rightly ordered makes                  2 any and so I don't -- I can't say with certainty.
  3 available to us was seen as something that should be                3     Q   But there was no policy against treating the
  4 made available to those -- to the least of these, to                4 transgender patients?
  5 use that theological language, to those who -- who                  5     A   No. In fact, had there been a policy it
  6 need it most. And they were committed to that.                      6 would have been that we treat anyone and everyone,
  7     Q       And just before we go on, you've used the               7 including anyone who shows up with a genuine medical
  8 term "good medicine" a couple times so far today, and 8 need that we can be helpful with.
  9 I'm wondering if you can give me a definition of what 9                   Q   And were patients asked about their
 10 you mean by "good medicine."                                       10 religious affiliation on any forms or by the provider?
 11     A       You know, for philosophical reasons, no,               11     A   They, I'm sure, often were. I don't
 12 there's -- there's no way to define the term                       12 remember the details of how they were asked. It's
 13 could -- good more basically. That -- that is -- but               13 customary across medicine to ask about religious
 14 the idea just means that there are -- among those                  14 affiliation as part of taking a history.
 15 things that people who put themselves forward as                   15     Q   At that practice, were there any policies
 16 medical practitioners and the institutions that put                16 dictating certain treatments that would not be
 17 themselves forward as medical institutions do, not all 17 provided to patients?
 18 is good. And part of the challenge of being human,                 18     A   There were no treatments that I'm aware of
 19 and specifically being a medical practitioner, is to               19 that -- that were recognized as legitimate medical
 20 discern that which is consistent with medicine rightly 20 treatments, treatments that respond to medical need,
 21 understood and -- and with the patient's health                    21 that were opposed by that clinic.
 22 rightly understood, and with the requirements of -- of 22                 Q   Why do you say it that way?
                                                             Page 51                                                             Page 53
  1 morality, of ethics rightly understood from that which              1             MR. BROOKS: Objection.
  2 is not.                                                             2     A     Well, you know, as I've already mentioned,
  3           So for example, it is standard that                       3 there are things done by people who put themselves
  4 hospitals would and physicians would refuse to see                  4 forward as medical practitioners and that are offered
  5 people who had Medicaid. And that would be the sort                 5 by institutions that put themselves forward as medical
  6 of things that for many people at Lawndale Christian                6 institutions that are not good. And I don't remember
  7 Health Center was an example of not good medicine and               7 there being a policy, but there were -- it was widely
  8 a kind of corruption of medical institutions.                       8 understood that if a patient asked for something that
  9    Q       Understood. So what patients did the                     9 was not something consistent with good medicine,
 10 Lawndale Christian Health Center serve? Age, just in               10 that -- that the medical practitioner would
 11 general, what patients did they serve?                             11 respectfully decline to participate on what the
 12    A       They served all -- all patients that showed             12 patient requested.
 13 up, which included every -- every manner of patient.               13     Q     Can you think of any examples of those types
 14    Q       So children through adult?                              14 of treatments?
 15    A       Yes, children through adult.                            15     A     The -- I can think of two. One would be
 16    Q       And did providers only treat Christians?                16 assistance in hastening one's death or causing one's
 17    A       No. As I said, they -- they saw everyone                17 death. And another would be what we would call
 18 who showed up. They were committed to not                          18 elective abortion.
 19 distinguishing between patients, except insofar as                 19     Q     And is the reason for not providing those
 20 patients needed medical care.                                      20 treatments based on Christian values?
 21    Q       And did providers treat any transgender                 21     A     The reason for not providing those
 22 patients?                                                          22 treatments are based on values that are not specific

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  1 to Christianity. Specifically, the ancient and                   1 title as primary care internist. Is there a
  2 enduring, I think, when people are thinking well and             2 distinction to be made there or?
  3 practicing well, commitment to not causing the death             3      A    There's no distinction that has substance.
  4 of any -- any patient.                                           4 I was a primary care physician at both places, and I
  5     Q   And so would, and I'll be specific, would                5 was an internal medicine physician at both places.
  6 prescribing puberty blockers or cross-sex hormones for           6      Q    And at the Primary Care Group, were you
  7 someone with gender dysphoria, would that fall under             7 seeing patients in a clinic setting?
  8 the category of treatments that would not be provided?           8      A    Yes, I was seeing patients in an outpatient
  9     A   I don't recall -- I actually don't know. I               9 clinic setting.
 10 haven't been to Lawndale Christian Health Center in             10      Q    And what patients did you see when you
 11 more than 20 years, and so I don't know.                        11 worked there?
 12     Q   What was your role when you practiced there?            12      A    I saw all manner of patients that presented
 13     A   My role was as an outpatient primary care               13 to the clinic, with all manner of complaints and
 14 physician.                                                      14 concerns, with a focus on adults.
 15     Q   And I know that you've said that the clinic             15      Q    And can you give me some examples of the
 16 treated all patients. At that time, did you treat               16 types of conditions that you treated?
 17 children and adolescents? In addition to adults, I              17      A    I treated conditions such as chronic pain,
 18 should say.                                                     18 fatigue, sleeplessness, depression, anxiety, erectile
 19     A   I only saw physically mature adolescents,               19 dysfunction, hypertension, diabetes,
 20 and that was a minority of the patients that I saw.             20 hypercholesterolemia, thyroid disorders,
 21     Q   And were you practicing internal medicine?              21 osteoarthritis, rheumatoid disorders, kidney disease,
 22     A   Yes, I was practicing internal medicine.                22 and that's not comprehensive but that's an
                                                          Page 55                                                           Page 57
  1     Q    Did you treat anyone with a diagnosis or who            1 example -- that's a list of some examples.
  2 displayed symptoms of gender dysphoria?                          2     Q    And in that setting, did you treat anyone
  3              MR. BROOKS: Objection, compound                     3 with a diagnosis of gender dysphoria?
  4 question.                                                        4     A    I have no memory of treating someone in that
  5     A    I don't recall.                                         5 context who carried a diagnosis of gender dysphoria.
  6     Q    Did you ever diagnose anyone with that                  6     Q    And did you treat anyone who expressed
  7 condition while working at the Lawndale Christian                7 symptoms that are characteristic of gender dysphoria?
  8 Health Center?                                                   8     A    I don't recall. I imagine I did, but I
  9     A    I have no memory of doing so.                           9 don't recall specifics.
 10     Q    Did any of your patients express concerns              10     Q    Did you ever recommend medical treatment to
 11 related to their gender identity?                               11 a patient who expressed gender dysphoria symptoms,
 12     A    I don't recall whether any of my patients              12 related to the gender dysphoria?
 13 expressed concerns about how their secondary sex                13            MR. BROOKS: Objection, lack of
 14 characteristics aligned with their own perception of            14 foundation.
 15 their gender.                                                   15     A    I'd want to know what medical treatment you
 16     Q    The next place you practiced was at                    16 have in mind, but I -- as I said, I don't recall
 17 University of Chicago Primary Care Group; is that               17 treating anyone who carried a diagnosis of gender
 18 correct?                                                        18 dysphoria. And so similarly, I don't have any
 19     A    Yes, that's the next place I practiced                 19 recollection of specific treatment.
 20 outpatient medicine.                                            20     Q    Okay. And am I correct that during that
 21     Q    And on your CV, you list primary care                  21 same time period, beginning in 2003, you were also the
 22 physician, whereas at Lawndale you described your               22 attending physician at University of Chicago Hospital?

                                                                                                              15 (Pages 54 - 57)
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  1     A    Yes, I was also an attending physician on           1 of the faculty and trainees, usually 20 to 30 people,
  2 the general medicine service at the University of            2 at our weekly clinical ethics case conference to
  3 Chicago Hospitals.                                           3 invite them to reason with us and with the people
  4     Q    And did you ever encounter any patients with        4 involved in the clinical care for which the case
  5 gender dysphoria in that setting?                            5 emerged.
  6     A    I am confident that I did, but I don't have         6         And would, based on that discussion, then --
  7 specific memories of particular patients.                    7 and my own expertise and the resources that were
  8     Q    Do you have a specific memory of prescribing 8 relevant and the facts that are relevant, we then
  9 puberty blockers to somebody with gender dysphoria? 9 write a consultation note which would be placed in the
 10     A    No, I have no memory of prescribing puberty 10 chart, which would be my opinions and my
 11 blockers to someone with a diagnosis of gender              11 recommendations to those involved regarding how they
 12 dysphoria.                                                  12 might proceed and for what reasons.
 13     Q    And what about cross-sex hormones?                 13    Q     And was that note provided to the person who
 14     A    I have no memory of prescribing cross-sex          14 requested the consult?
 15 hormones to a patient.                                      15    A     Well, it was -- became part of the medical
 16     Q    On your CV, you also describe an ethics            16 record. So anybody who had access to the medical
 17 consult service. What do you mean by that?                  17 record would have access to the note.
 18     A    At the University of Chicago, I served as          18    Q     And how many months were you the primary
 19 one of the attending physicians on the clinical ethics 19 attending?
 20 consult service.                                            20    A     Typically, one to two months per year.
 21     Q    And is that similar to what you would call         21    Q     Okay. And when you weren't serving as the
 22 the ethics committee?                                       22 primary, were you still serving a role -- what was
                                                      Page 59                                                               Page 61
  1     A    At the University of Chicago, the consult           1 your role when you weren't serving as the primary?
  2 service self-consciously does not call itself a              2 How would you describe that?
  3 committee. In part, emphasize that the goal for that         3    A     My role with respect to the clinical ethics
  4 consult service is to help clinicians think well about       4 consult service would be to go to the -- when my
  5 the issues they face and make clinical judgments that        5 schedule allowed, to go to the two-hour clinical
  6 are consistent with their ethical obligations, rather        6 ethics case conference and participate in that
  7 than defer that to a committee. But we called it             7 dialogue about the -- the cases that were live at that
  8 the -- the clinical ethics consult service.                  8 time.
  9     Q    Got it. And what was your role on the               9    Q     And was it only physicians who could request
 10 consult service?                                            10 a consult, or could family or patients request
 11     A    The months that I was the primary attending, 11 consults also?
 12 I would go -- when an ethics consult was called, I          12    A     Anyone could request a consult.
 13 would go to see those who called the consult and any 13           Q     And was there a particular process that they
 14 people involved in the situation for which the ethics       14 had to follow to request a consult?
 15 consult emerged. I would often do that with one of          15    A     I don't recall the details, but there were
 16 our fellows in clinical medical ethics.                     16 not really hoops to jump through. It was just if
 17         And would gather data relevant to clinical          17 there was a question, whoever became aware of the
 18 ethical reasoning about that case and then would draw 18 question was able to ask for an ethics consult, and
 19 on what I took to be relevant sources that speak to         19 then it was well known across the hospital how to --
 20 the clinical ethical questions raised by that case,         20 how to ask for an ethics consult, and then we would be
 21 and put together a one to two-page description of the 21 paged.
 22 case and then would present that case to the remainder22          Q     Can you give me some examples of some of the

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  1 types of questions that were posed?                                1 discrimination on the basis of medical differences and
  2     A    I can give you a few examples of questions                2 when it's unjustified discrimination on the basis of
  3 that were posed, but in broad strokes as I don't                   3 differences that should not restrict peoples' care.
  4 remember the details of any case these years later.                4 Those are just some examples.
  5 We had cases in which a patient had obviously                      5    Q      And when faced with those types of
  6 diminished capacity to reason and to think about some              6 questions, did you draw upon Christianity in order to
  7 choice for which they, under the law, had authority to             7 provide advice?
  8 make a decision. And we would be asked to weigh in on              8    A      When faced with those questions, I would
  9 whether they had sufficient capacity to make the                   9 draw on, as my colleagues would, the ethical norms and
 10 particular question or the particular judgment that               10 values and goods and standards that are relevant to
 11 was facing them.                                                  11 that case, none of which were specifically affiliated
 12         And if they didn't, why? How could that be                12 with or emerging from Christianity. Although, many of
 13 restored? And if it could not be restored, who would              13 them are embraced by and, you know, endorsed by
 14 be the property surrogates to turn to and what                    14 Christianity, Judaism, Islam, and other religious
 15 standards would bind the decisions that a surrogate               15 traditions.
 16 would make, and are those standards different from the            16    Q      And did you ever provide consult on a
 17 standards that would bind a patient themselves?                   17 question involving gender dysphoria?
 18         We had questions about the care of children,              18    A      I do not recall -- I do not recall if we did
 19 where either families sought some intervention that               19 or not.
 20 the physicians did not think was consistent with good             20    Q      I assume, from your publications, you're
 21 medicine. How a physician should proceed in such a                21 Christian; correct?
 22 case.                                                             22    A      I am a Christian, yes.
                                                            Page 63                                                               Page 65
  1         We had cases in which the physicians thought               1     Q      What denomination?
  2 that some intervention for children was important, and             2     A      I'm a part of the Anglican Church of North
  3 then we would think about whether it was sufficiently              3 America.
  4 important or sufficiently medically necessary that the             4     Q      And how long have you been part of the
  5 physicians had authority to override the wishes of the             5 Anglican Church?
  6 pediatric patient and/or their patients. And if so,                6     A      I have been part of the Anglican Church of
  7 how should they do that and what are -- what's the                 7 North America about ten years.
  8 limit of that -- the scope of that authority?                      8     Q      And are you still practicing?
  9         We had, I remember a case in which there was               9     A      Practicing what?
 10 a young woman who sought assisted reproductive                    10     Q      Do you still practice religion with the
 11 technologies because she had not gotten pregnant. And             11 Anglican Church of North America?
 12 the question was should that be offered to her since              12               MR. BROOKS: Objection to the form of
 13 she was, in this case as I recall, 18 or 19 years old             13 the question.
 14 and did not have a consistent partner and seemed to               14     A      Yeah, I don't know what you mean by
 15 have a life that was -- that was unstable.                        15 practicing. I am a Christian, and I participate
 16         The question was is this good medicine to                 16 regularly in Christian worship services in a church
 17 facilitate this young woman getting pregnant? There               17 that's part of the Anglican Church of North America.
 18 were questions about whether it would be unjust to not            18     Q      With respect to your work on the consult
 19 permit that for her if they were permitting it for                19 service, did you ever counsel anyone to take a course
 20 other people who sought that in different                         20 of action that would not align with Christian values?
 21 circumstances. And then questions about when,                     21     A      I am not aware of any -- any such case, nor
 22 effectively, that kind of discrimination is justified             22 am I aware of -- I would need to think of a case and

                                                                                                                 17 (Pages 62 - 65)
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  1 I -- in which what would be recommended ethically              1     A   I -- I don't recall other specific patients
  2 contradicts Christian teaching.                                2 that have been under my direct clinical care.
  3     Q     Would you say that providing puberty                 3     Q   Switching topics. Are you familiar with the
  4 blockers or cross-sex hormones for the treatment of            4 Alliance for Hippocratic Medicine?
  5 gender dysphoria is against Christian values?                  5     A   Yes, I am somewhat familiar with the
  6     A     Medicalized gender transition, I -- I think          6 Alliance for Hippocratic Medicine.
  7 contradicts a number of ethical norms, as I've                 7     Q   What is that alliance?
  8 described, or at least appears to, as I've described           8     A   The Alliance for Hippocratic Medicine, to
  9 in my expert report. And insofar as Christianity, as           9 the best of my knowledge, is an alliance of several
 10 other traditions, embraces some of those values, then 10 medical organizations, including the Christian Medical
 11 at least that far it would contradict Christian               11 and Dental Association, the Catholic Medical
 12 values.                                                       12 Association, the American College of Pediatricians, I
 13     Q     So just to wrap up the questions I have             13 believe it's called, and the American Association of
 14 about your clinical practice, have we discussed all           14 Pro-Life Obstetrician/Gynecologists, and I believe I
 15 the encounters with persons displaying symptoms of 15 couple of other organizations that have formed an
 16 gender dysphoria that you've had in your clinical             16 alliance to contend for what they take to be norms
 17 practice that you can recall?                                 17 consistent with Hippocratic medicine.
 18             MR. BROOKS: Objection.                            18     Q   Are you a member of that organization?
 19     A     No, I don't think we have.                          19     A   I am not a member of that organization
 20     Q     How many are there that come to mind?               20 directly, although I don't know if -- if there are
 21     A     There is -- I am -- have memory of                  21 memberships specifically to that organization.
 22 peripherally being involved in care of -- well, let me 22            Q   Are you involved in that organization in any
                                                        Page 67                                                             Page 69
  1 say this. I have clear memories of one patient whom I 1 way?
  2 cared for as a palliative medicine physician who was a 2             A    I am not. I was a speaker, a plenary
  3 male who had a perceived -- self-perceived gender of 3 speaker, for that organization's -- one of its opening
  4 female.                                                        4 events. And -- but otherwise, I have not been
  5     Q     And what was your treatment related to with          5 involved with it.
  6 this patient?                                                  6     Q    What about the Society for Hippocratic
  7     A     The medical care that this patient needed as         7 Medicine?
  8 he was suffering from an advanced cancer.                      8              MR. BROOKS: Objection to the form of
  9     Q     Was that individual receiving cross-sex              9 the question.
 10 hormones?                                                     10     A    I don't know what the Society for
 11     A     Yes. Not -- not prescribed by me, but yes,          11 Hippocratic Medicine is. I'm not sure to what you're
 12 he was receiving those.                                       12 referring.
 13     Q     He was still receiving a prescription from a        13     Q    Do you have involvement in an organization
 14 different physician; correct?                                 14 that is called by a name that includes Hippocratic
 15     A     Correct. As best I can recall. I was                15 medicine?
 16 brought in as a specialist consultant regarding               16     A    I'll help you out here. I am involved in an
 17 palliative medicine needs, and the patient was                17 association called the Hippocratic Society.
 18 receiving those -- had been receiving those as an             18     Q    Tell me about that. What is the purpose of
 19 outpatient and was continuing to receive those during 19 the Hippocratic Society?
 20 the hospitalization when I saw the patient.                   20     A    The purpose of the Hippocratic Society is to
 21     Q     Are there any other encounters with patients        21 form clinicians in the practice and pursuit of good
 22 with gender dysphoria that you can recall?                    22 medicine.

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  1     Q      And what is your role with that                          1     Q    In your view, what role does autonomy play
  2 organization?                                                       2 in the practice of good medicine?
  3     A      I am the president of that organization.                 3     A    In my view, autonomy is an important
  4     Q      When was that organization formed?                       4 concern, insofar as it is a concern that signals that
  5     A      It was formed, as best I recall, summer of               5 part of being human is to have -- when humans are
  6 2023.                                                               6 flourishing, is to have and exercise moral agency, and
  7     Q      Did you have a role in founding that                     7 also to indicate that whenever there's a decision to
  8 organization?                                                       8 be made among more than one person, as is the case
  9     A      Yes, I was one of the founders.                          9 with virtually all clinical decisions, we have to
 10     Q      Do they have a website?                                 10 understand properly the scope and limits of the
 11     A      We do not yet have a website, no.                       11 authority of those involved.
 12     Q      How many members do you have?                           12         And autonomy is characteristically raised
 13     A      We don't have any formal membership                     13 within medicine to refer specifically patient autonomy
 14 structure at this point.                                           14 and to emphasize the importance of honoring a
 15     Q      We talked about this in another context                 15 patient's authority, within its proper scope.
 16 earlier, but within the context of the Hippocratic                 16     Q    And when you say "proper scope," what is the
 17 Society, how do you define good medicine?                          17 property scope?
 18     A      The Hippocratic Society does not define good 18                A    Well, the most important point is that
 19 medicine, but is committed to the proposition that                 19 patients have authority to refuse any medical
 20 there -- that a central responsibility of clinical                 20 proposal. And by that I mean patients who have such
 21 practitioners is to discern good medicine from that                21 authority, which is typically adult patients who have
 22 which is not good, and make reasonable judgments in 22 cognitive capacity to understand what decision they're
                                                             Page 71                                                        Page 73
  1 that respect and to follow those judgments. And so we               1 making. They have authority to refuse any medical
  2 are committed to fostering civil, open, vigorous                    2 proposal, even ones that physicians are -- think are
  3 debate about all manner of questions that arise                     3 really important.
  4 regarding what medicine, our profession, properly                   4     Q    Do they also have the authority to receive
  5 understood requires of us and what our commitments and              5 treatment that is legal to provide but the physician
  6 obligations to patients requires of us.                             6 is morally against?
  7    Q      What role does morality play in the practice              7     A    So there's a few different questions packed
  8 of good medicine?                                                   8 up in that, so can you re-ask it maybe with one -- one
  9    A      Well, the concept "good" is the central                   9 at a time?
 10 concept of ethics or morality. So insofar as one is                10     Q    Sure. If a physician is morally opposed to
 11 considering, as a medical practitioner, what one ought             11 treatment, a particular type of treatment, but that
 12 to do and what one ought not to do, what is better and             12 type of treatment is legal to provide, is a patient
 13 what is worse with respect to one's own actions or the             13 entitled to receive that treatment?
 14 actions of others, one is addressing morality or                   14            MR. BROOKS: Objection.
 15 ethics.                                                            15     A    You still have a couple questions tied up
 16    Q      So in that same context, what role does                  16 together there, but say this much. The corollary of
 17 autonomy play? Patient autonomy?                                   17 the authority to refuse any medical proposal is
 18    A      Patient autonomy is -- and I should say                  18 the -- the authority to consent to medical proposals.
 19 here, I'm not speaking for the Hippocratic Society,                19 And so we have this important concept and practice of
 20 which has no policy on this question. Oh, I should                 20 informed consent, which is very foundational to
 21 stop there, in fact. What was your -- what is it                   21 medical practice and medical ethics.
 22 you're asking?                                                     22         Informed consent does not imply informed

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  1 demand. In other words, whether a physician is                1 Transition Services: Progress or Medical Hubris?" Can
  2 obligated to provide an intervention that a patient           2 you tell me about what the focus of that presentation
  3 seeks is -- it depends on the situation. But the              3 was and what -- tell me about the focus of that
  4 patient seeking it does not make it something the             4 presentation.
  5 physician is obliged to provide.                              5     A   I don't remember the details here seven
  6     Q   And can physicians deny treatment to a                6 years later, but it was a talk in which I recognized
  7 patient, a treatment that is legal, because they are          7 the rationale that was being used in public to justify
  8 morally opposed to providing it?                              8 medicalized gender transition and then raised what I
  9     A   What's the question?                                  9 took to be some important ethical concerns about such
 10     Q   Can a physician ethically deny treatment to          10 practices.
 11 a patient that is requesting the treatment, and the          11     Q   And who was the audience of that
 12 treatment is legal, can they ethically deny providing 12 presentation?
 13 that treatment because they are morally opposed to it? 13           A   That was at the 29th Annual Dorothy J.
 14     A   There are many cases in which a good                 14 MacLean Fellows Conference on Clinical Medical Ethics,
 15 physician will refuse a request that a patient makes         15 at the University of Chicago. The audience is made up
 16 for a legal intervention, on the basis of the judgment 16 of primarily alumni of that fellowship, of which there
 17 that to provide what the patient seeks would be to           17 are, I believe, more than 200. As well as members of
 18 contradict the physician's professional obligations to 18 the University of Chicago community who are interested
 19 the patient and to the profession.                           19 in medical ethics.
 20     Q   Have you published any work on gender                20     Q   And then the second one that you mentioned
 21 dysphoria?                                                   21 is number 107 on page 7. That one, it looks like the
 22     A   I have published a peer-reviewed book on             22 title is "Detransitioners, civil discourse, and the
                                                       Page 75                                                               Page 77
  1 medical ethics that includes a chapter in which we            1 silence of clinical ethics." Can you describe that
  2 address medicalized gender transition.                        2 presentation?
  3     Q   And is that book "The Way of Medicine"?               3     A   That presentation was a kind of updating of
  4     A   Yes, that book is "The Way of Medicine."              4 where we were now six years later, and in that case,
  5     Q   Any other publications regarding gender               5 again, raising some of the ethical concerns that I
  6 dysphoria?                                                    6 have about this practice. I and others have about
  7     A   I can't recall if I mentioned gender                  7 this practice. As well as commenting on the problem
  8 dysphoria in other publications.                              8 of the absence of civil discourse about the topic
  9     Q   Have you presented at any conferences on the 9 because of the sort of cancel culture and the fear
 10 topic of gender dysphoria?                                   10 that people have of speaking out about their concerns.
 11     A   Yes, I have presented on the topic of gender         11     Q   And who was the audience for that
 12 dysphoria, and specifically what I -- you referred to        12 presentation?
 13 as medicalized gender transition, at a couple of             13     A   So that was a talk within an academic
 14 conferences.                                                 14 year-long series on medical ethics, and the people who
 15     Q   And are those conferences listed in your CV? 15 come to that are a mixture of faculty and fellows in
 16     A   I have to look to see.                               16 the MacLean Center for Clinical Medical Ethics, as
 17     Q   Okay.                                                17 well as broader members of the medical community who
 18     A   Yeah, so on page 6 of my CV, number 70 is            18 are interested in the topic of that particular
 19 one of those presentations. And on page 7, number            19 session.
 20 107, is the second.                                          20     Q   In your report, you mention that you've been
 21     Q   Okay. The first one that you mentioned on            21 invited to give talks at a major medical school on the
 22 page 6, you said that was number 70. That's "Gender 22 ethics surrounding transgender medicine. What medical

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  1 school is that?                                                    1 paginated differently, so.
  2     A   That's the University of Chicago.                          2 BY MS. MURPHY:
  3     Q   And is that instance listed on your CV?                    3     Q   Well, for purposes of your deposition, I'd
  4     A   Yes, that's the number 107.                                4 like to refer to this copy. And if there comes an
  5     Q   Okay. What do you mean by "transgender                     5 issue where you believe that anything in this book is
  6 medicine"?                                                         6 inaccurate, we can deal with that at a later time.
  7     A   I mean what I in my report describe as                     7 Make sense?
  8 medicalized gender transition, plus insofar as                     8     A   I think so.
  9 relevant, surgical interventions that likewise seek to             9     Q   Okay. And it could very well be that the
 10 refashion human anatomy to align with some appearance             10 page references and stuff aren't even necessary to my
 11 that's more consistent with what the patient perceives            11 questions. What motivated you to write this book?
 12 as consistent with their -- their -- their gender.                12     A   Christopher Tollefsen and I had taught for
 13     Q   Turning to your book, "The Way of Medicine,"              13 several years a one-week seminar on medical ethics.
 14 we have a downloaded copy of that book that I would               14 And through the teaching of it, over the course of
 15 like to mark as an exhibit, but I want you to take a              15 that time we came to the mutual conviction that it
 16 look at it as well.                                               16 would be useful to write a book together about our
 17             MS. MURPHY: So first off, I'd like to                 17 take on medicine and medical ethics and the key
 18 mark the copy of "The Way of Medicine" that we                    18 questions that we address in the book.
 19 downloaded as Exhibit 3.                                          19     Q   And your book presents two models as ways to
 20             (Exhibit 3 was marked for                             20 look at medicine; right?
 21             identification.)                                      21     A   It does. It presents -- well, it presents
 22             MR. BROOKS: And let me ask, Counsel,                  22 two models as conceding that they're -- that's a
                                                            Page 79                                                          Page 81
  1 is Exhibit 3 a copy of the entire book or selected                 1 simplification for the purposes of considering these
  2 portions?                                                          2 two different patterns of understanding medicine and
  3             MS. MURPHY: It's a copy of the entire                  3 practicing medicine.
  4 book. But I would appreciate if Dr. Curlin takes a                 4     Q   Fair. But one of these models you refer to
  5 moment to look at it and tell us if he disagrees that              5 as the provider of services model; correct?
  6 that's the entire book.                                            6     A   Yes, we refer to one model as the provider
  7             MR. BROOKS: I'll have to open a folder                 7 of services model.
  8 in which I have put those downloaded files. There it               8     Q   And can you describe the provider of
  9 is. Now it has, according to the top of the PDF, it                9 services model?
 10 has 130 pages. I am guessing that you'd rather make a             10     A   The provider of services model is a way of
 11 representation than ask Dr. Curlin to check 130 pages?            11 understanding and practicing medicine that takes
 12             MS. MURPHY: That's correct. I mean,                   12 medical practitioners to be fundamentally providers of
 13 all I'm asking is that he, you know, acknowledge that             13 services, whose obligation is to make available
 14 there's a downloaded copy of the book. We represent               14 interventions that are technologically possible and
 15 that this is a copy that was provided to us by a                  15 that are permitted by the law relevant to that
 16 library, so it should be a true and correct copy of               16 particular jurisdiction, so that those interventions,
 17 the book.                                                         17 whatever they are, can be used according to the
 18             THE WITNESS: I have never seen a                      18 judgment of the patient to pursue and open-ended and
 19 downloaded copy of our book, and our book in print has            19 ultimately subjective notion of patient wellbeing.
 20 more than 130 pages. So I can't say for certain that              20 That is known within this way of thinking, primarily
 21 all the pages are included in this downloaded copy,               21 by what the patient asks for and what the patient says
 22 but I know that sometimes downloaded books are                    22 is important to them.

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  1     Q   And is this primarily how medical schools              1         And so the way of medicine is more adequate
  2 train students?                                                2 to the reality that what makes medical practitioners
  3     A   In our judgment, medical schools have tended 3 medical practitioners is that -- versus some other
  4 to emphasize, to a problematic degree, this way of             4 kind of practitioner is that they show up to and --
  5 understanding medicine.                                        5 and offer themselves in response to threats to the
  6     Q   And your book also provides an alternative             6 health of or injuries to the health of -- of other
  7 view of looking at medicine, and you refer to that as          7 persons, and they seek expertly to remedy those
  8 the way of medicine; right?                                    8 injuries and -- and to promote health of patients.
  9     A   Yes, we refer to our account of medicine and           9 What makes us physicians is not that we provide stuff
 10 medical ethics as the way of medicine.                        10 that people want, but in fact that we are healers.
 11     Q   How would you describe the way of medicine?11                Q    So is it fair to say that your clinical
 12     A   The way of medicine is an understanding and 12 practice is guided by that model?
 13 practice of medicine that takes medicine to be                13     A    Yes, insofar as what we've described there
 14 fundamentally a moral practice, in pursuit of a               14 is -- is what we take to be a reasonable account of
 15 particular good. Namely, the human good of human 15 what all medical practitioners, when they're thinking
 16 health. And does so pursuing that good in particular 16 well and practicing well, are guided by. And -- and
 17 persons, and governed by the requirements of -- of            17 yes, I -- insofar as I am aware, I try to practice
 18 what can be called natural law or morality at large,          18 according to the norms we describe there, which we
 19 ethics, but also with attention to the particular             19 take to be universal norms when they're properly
 20 ethical requirements of a practice that is devoted to         20 understood.
 21 attending to those who are sick and seeking to                21     Q    And so does that mean that at least in part,
 22 preserve and restore their health.                            22 your clinical practice relies on your sense of
                                                        Page 83                                                            Page 85
  1     Q   And between those two models, is the way of            1 morality?
  2 medicine the preferred model to practice, in your              2     A    So it -- it's not possible for any medical
  3 view?                                                          3 practitioner to practice medicine without relying on
  4     A   In my opinion, the way of medicine is a more           4 their sense of morality, except by making themselves
  5 reasonable account of -- of what physicians reasonably 5 mercenary and just doing whatever people tell them to
  6 and rightfully profess.                                        6 do. So it's -- it's I think absolutely intrinsic to
  7     Q   Why is that your preferred way of looking at           7 medicine that a medical practitioner practices
  8 medicine?                                                      8 according to their judgments regarding what ethics
  9     A   Well, there's a number of reasons, but                 9 requires.
 10 it's -- prefer it because we believe it's truer and           10     Q    And would you agree that individuals' sense
 11 more adequate to the reality of what patients                 11 of what is good and what is bad differs?
 12 experience and what practitioners reasonably profess. 12             A    Well, to some extent. People -- well,
 13 That in fact to -- that in fact it cannot follow that         13 clearly, people have disagreements about what ethics
 14 because a patient has, as they do have, authority to          14 requires. I'll say that much.
 15 refuse any medical proposal and has authority to              15     Q    And are there certain treatments that you
 16 consent to reasonable proposals that physicians make. 16 would not recommend, based on your values?
 17 It cannot follow that they have a -- a right to demand 17            A    I would not recommend any treatment, except
 18 a medical practitioner's interventions that contradict 18 insofar as I believe that treatment is a reasonable
 19 their own health or otherwise would involve the               19 medical proposal.
 20 practitioner in contradicting the requirements of             20     Q    If you had the training to do so, would you
 21 ethics, the requirements of morality at large, or the         21 recommend puberty blockers to an adolescent to treat
 22 requirements specific to the practice of medicine.            22 gender dysphoria?

                                                                                                        22 (Pages 82 - 85)
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  1            MR. BROOKS: Objection, lack of                     1 distress over the congruence between their perception
  2 foundation.                                                   2 of their gender and their anatomical assignment to a
  3     A   Yeah, I -- I haven't, I believe, offered              3 particular sex?
  4 opinions about what I might do in some speculative            4             MR. BROOKS: Objection.
  5 future or with particular cases. I'm not -- I'm not           5     A     I -- I don't -- I don't know, as I haven't
  6 willing to under oath try to imagine that and give an         6 been in -- I haven't had a patient with that precise
  7 opinion about that on the fly.                                7 presentation.
  8            MS. MURPHY: It's fairly typical to ask             8     Q     Under the provider services model, a
  9 hypothetical questions in this instance. Mr. Brooks,          9 physician practicing under the provider of services
 10 are you instructing your client not to answer?               10 model, would you agree that that provider would be
 11            MR. BROOKS: Well, he has answered, and 11 obligated to provide puberty blockers in response to a
 12 I'm certainly not going to instruct him to offer             12 patient who is experiencing gender dysphoria and
 13 opinions under oath that he doesn't feel comfortable, 13 wanted to stop puberty?
 14 that he doesn't feel that he has informed opinions on. 14                   MR. BROOKS: Objection, incomplete
 15 He has no obligation to do so.                               15 hypothetical.
 16 BY MS. MURPHY:                                               16     A     As I wrote in our book, in my judgment,
 17     Q   So is it that you don't know what you would          17 medicalized gender transition is strongly influenced
 18 do in that situation, or is it that you don't wish to        18 by what we call the provider of services model,
 19 provide an answer for that question?                         19 insofar as it takes the perception and subjective
 20     A   In clinical medicine, we always take into            20 account of wellbeing of the patient, namely what the
 21 account all the particularities of a given case. In          21 patient desires, to be -- to establish the goal that
 22 my expert report, I've -- I've indicated a number of         22 medical practitioners are obligated to pursue.
                                                       Page 87                                                             Page 89
  1 reasons why I was -- it is doubtful in any particular         1         And just insofar -- in that respect, we
  2 case that I would come to the judgment that cross-sex 2 think it is emblematic of the influence of what we
  3 hormones or blocking -- blocking puberty on the basis 3 call the provider of services model.
  4 of dysphoria is a reasonable medical proposal. But            4     Q    And when you refer to the patient's opinion
  5 I -- I cannot say what I would do in a particular case        5 on what they need as subjective, would you agree that
  6 until I know, you know, the -- the facts of the case.         6 morality is also subjective?
  7     Q   Fair enough. When you say that it's                   7     A    I would not, no.
  8 doubtful that you would do so, is that doubt based on 8             Q    Can you elaborate a bit on that?
  9 your sense of morality?                                       9            MR. BROOKS: Objection.
 10     A   The doubtfulness is based on my                      10     A    Can you ask the question again or
 11 understanding of the ethical norms, including the            11 differently?
 12 norms specific to the practice of medicine, and as           12     Q    Sure. Is morality objective or subjective?
 13 I've described in my report.                                 13     A    Well, ethics at root must be objective, it
 14     Q   Is it your belief that humans can only be            14 must be real, or else the entire moral life of human
 15 male or female?                                              15 beings is a sham. Now it also is the case that it's
 16     A   It is my belief that humans are, as a                16 hard to discern and there are ambiguities and
 17 species of mammals, are male or female. That we              17 disagreements about what ethics requires, about what
 18 have -- there are only two sexes that make possible          18 morality requires, about what's good and not good.
 19 reproduction, and that's something we share with other19                And the -- one does not assess ethics in the
 20 animals.                                                     20 same way one assesses how much someone weighs, for
 21     Q   And so what type of treatment, if any, would 21 example. But ethics is -- at root, must be objective
 22 you recommend to a patient who exhibited extreme             22 for there to be any point in having an argument about

                                                                                                          23 (Pages 86 - 89)
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  1 how we ought to live.                                               1            MR. BROOKS: We are.
  2     Q     So do you agree that under the way of                     2            MS. MURPHY: Okay. Why don't we just
  3 medicine, that it would be contrary to health to                    3 break for lunch at 12:30? How does that sound?
  4 provide puberty blockers to stop puberty in somebody 4                           MR. BROOKS: Well, I would appreciate a
  5 who is experiencing gender dysphoria?                               5 short break sooner than that.
  6             MR. BROOKS: Objection, lack of                          6            MS. MURPHY: Okay. Let me just finish
  7 foundation.                                                         7 up --
  8     A     Can you repeat the question?                              8            MR. BROOKS: Yes, yes.
  9     Q     Sure. Under the way of medicine, would it                 9            MS. MURPHY: -- and then we'll take a
 10 be contrary to health to provide medicalized gender                10 quick break.
 11 transition treatment?                                              11            MR. BROOKS: Okay.
 12     A     So as -- as I noted as well in my report, it             12 BY MS. MURPHY:
 13 appears that, and as we've noted in the book, it                   13     Q   Would you say that it would be immoral for a
 14 appears that it does. That is to say that insofar as               14 physician to prescribe puberty blockers to stop
 15 medicalized gender transition contradicts the healthy 15 puberty in an individual with gender dysphoria?
 16 development of secondary sex characteristics that go 16                          MR. BROOKS: Objection.
 17 along with the kind of theme the patient is a male or 17                  A   As I noted before, I can't say for a
 18 a female human organism, it appears to contradict the 18 specific case until I know that -- all the details of
 19 patient's health.                                                  19 that case and -- to make a judgment about that. But
 20     Q     And so is it your opinion that any attempt               20 for the reasons I outlined in my report, it seems to
 21 by a physician to align an adolescent's physical                   21 me doubtful that -- that it can be consistent with
 22 characteristics with their perceived gender identity               22 medical ethics to block the healthy sexual development
                                                             Page 91                                                             Page 93
  1 is unethical?                                                       1 of a patient on the basis of the fact that that
  2     A    I -- I can't speak to any intervention.                    2 patient perceives their healthy sexual development to
  3 You'd have to give me a particular intervention to                  3 be at odds with their -- their sense of wellbeing.
  4 consider, or a particular kind of case.                             4     Q   In your book, you mentioned that you've
  5     Q    Sure. With respect to puberty blockers,                    5 never made peace with the notion of separating
  6 would it be unethical for a physician to prescribe                  6 personal from professional. Does that sound correct?
  7 puberty blockers to stop puberty?                                   7     A   That sounds correct, taken in the proper
  8     A    In what case?                                              8 context.
  9     Q    In an individual with gender dysphoria.                    9     Q   What do you mean by that? What's the proper
 10     A    So again, I -- I can't opine to a specific                10 context?
 11 case and all the things that might bear on that, but               11     A   I mean the context of what I said in the
 12 it -- for the reasons I outline in my report, it seems             12 book.
 13 doubtful that cross-sex hormones can be reasonably                 13            MS. MURPHY: I'm trying to pull it up,
 14 understood as consistent with the patient's health,                14 but I think I'm going to need a minute to do so. So
 15 insofar as they contradict healthy physiologic norms               15 why don't we take a ten-minute break? Or could we do
 16 with respect to sex hormones for a person of that                  16 a five-minute break?
 17 person's sex.                                                      17            MR. BROOKS: We'll try to be back
 18            MR. BROOKS: Counsel, if we could                        18 sooner than ten.
 19 sometime soon take a break for a few minutes and then              19            MS. MURPHY: Okay, excellent.
 20 run one more stretch before lunch, that would be good.             20            MR. BROOKS: It'll show up on the
 21            MS. MURPHY: You're east coast time;                     21 screen when it says we're here, but five should
 22 right?                                                             22 probably do it.

                                                                                                                24 (Pages 90 - 93)
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  1             MS. MURPHY: All right, thank you.                    1 have used the terms in their -- in their reasoning and
  2             THE REPORTER: Okay. The time is 11:50 2 in their writing.
  3 a.m. We are now off the record.                                  3     Q    Understood. Turning back to your report, in
  4             (Off the record.)                                    4 paragraph 5 you state that you've spent a substantial
  5             THE REPORTER: The time is 11:57 a.m.                 5 portion of your time conducting and publishing
  6 We are now back on the record.                                   6 empirical research, including research on physicians'
  7             MS. MURPHY: Thank you.                               7 attitudes and practices regarding controversial
  8 BY MS. MURPHY:                                                   8 practices; correct?
  9     Q    Dr. Curlin, can you please turn to page 8 of            9     A    Give me a moment.
 10 your book?                                                      10     Q    Sure.
 11             MR. BROOKS: And you refer to the                    11     A    I was taking down the image of the book.
 12 online edition that you asked him to look at; correct? 12 Can you repeat the question?
 13             MS. MURPHY: Correct.                                13     Q    Sure. It says in paragraph 5 that you've
 14             THE WITNESS: I -- I have turned there.              14 spent a substantial portion of your time conducting
 15 BY MS. MURPHY:                                                  15 and publishing empirical research, including research
 16     Q    Okay. In the last paragraph on that page,              16 on physicians' attitudes and practices regarding
 17 it says, "I've never made peace with the notion of              17 controversial practices; correct?
 18 separating the personal from the professional."                 18     A    Yes, that's correct.
 19 Correct?                                                        19     Q    And how do you define "controversial
 20     A    I see that it says that, and it's important            20 practices"?
 21 that it says that in the context of clarifying that             21     A    Practices about which there is public
 22 all medical practitioners are personally obligated to           22 controversy. But public here, I mean there are
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  1 make judgments about what their profession and other             1 arguments made in print or in public settings about
  2 demands of ethics require of them and to practice                2 what one ought to do and what one ought not to do, and
  3 according to that judgment. And that what I was                  3 we find that there are significant disagreements on
  4 pointing out was, spuriously, people here and there              4 the question.
  5 have suggested that because someone, say like myself,            5     Q   So do you consider a diagnosis of gender
  6 embracing a long-standing norm, for example don't kill           6 dysphoria to be controversial?
  7 your patient, that somehow they're imposing their                7     A   I do not consider a diagnosis of gender
  8 personal values on what should be a professional                 8 dysphoria, if by that you mean a diagnosis of a person
  9 practice. And I was highlighting that that is                    9 experiencing distress and discomfort and bad feeling
 10 logically problematic for a number of reasons.                  10 relating to a perception that their secondary sex
 11     Q   So is it fair to say that your own sense of             11 characteristics are at odds with what they perceive
 12 morality guides your professional opinions?                     12 their gender, I don't consider that to be a
 13           MR. BROOKS: Objection.                                13 controversial diagnosis, no.
 14     A   My professional opinions are based upon my              14     Q   Okay. But do you consider the practice of
 15 professional education and understanding and judgment           15 prescribing puberty blockers or cross-sex hormones for
 16 about what ethics, broadly and medical ethics                   16 the treatment of gender dysphoria to be controversial?
 17 specifically, requires of medical practitioners.                17     A   I do consider medicalized gender transition,
 18     Q   Is there a difference between ethics and                18 as described in my report, to be controversial.
 19 morality?                                                       19     Q   Do you consider it a controversial treatment
 20     A   There's no substantive difference between               20 for patients of any age?
 21 the two. Or certainly not in the way that I'm using             21     A   I -- I do consider it to be a controversial
 22 the terms and philosophers and ethicists generally              22 treatment, period, but particularly controversial with

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  1 respect to minors.                                               1     A    Not -- well, depends on what you mean by
  2     Q    Okay. So are there instances, like for                  2 "shortly." I believe I was retained in December, but
  3 particular patients, where you would not consider it             3 it may have been November of 2023.
  4 to be a controversial treatment?                                 4     Q    You've been retained as an expert witness in
  5            MR. BROOKS: Objection.                                5 cases prior to this one; right?
  6     A    Yeah, I would have to -- you'd have to give             6     A    Yes, I've been retained as an expert witness
  7 me a specific scenario you have in mind.                         7 in cases prior to this one.
  8     Q    Well, that's my question. Are there                     8     Q    Have you ever opined on anything related to
  9 particular patients where it would be appropriate to             9 gender dysphoria?
 10 prescribe medicalized gender treatment?                         10     A    To my knowledge, I have not opined directly
 11            MR. BROOKS: Objection.                               11 about gender dysphoria, or more specifically, prior to
 12     A    I -- I -- I don't know. I would -- again, I            12 this case I do not believe I've been asked to address,
 13 would have to have a particular case that you have in 13 as a central question, ethical issues raised by
 14 mind, or at least you can describe in a little more             14 medicalized gender transition.
 15 detail a particular kind of case.                               15     Q    Okay. Turning to your report, paragraph 28.
 16     Q    I think that answers my question. Have you             16 I'm sorry, I meant page 28. Page 28 of your report.
 17 conducted any empirical research on physicians'                 17 That's a list of other materials that you considered
 18 attitudes on diagnosing gender dysphoria?                       18 with respect to preparing this report; correct?
 19     A    Not that I recall.                                     19     A    Yes, it appears to be so, yes.
 20     Q    And have you done any empirical research on 20                Q    And who provided you those materials?
 21 physicians' attitudes for providing medicalized gender 21              A    Either Mr. Brooks or another of the
 22 transition treatment?                                           22 attorneys for the State of Alabama.
                                                          Page 99                                                           Page 101
  1     A    Not that I recall.                                      1     Q   And did those attorneys ask you to consider
  2     Q    Have you ever served on an institutional                2 any materials that are not listed here?
  3 review board?                                                    3           MR. BROOKS: Objection. I'll instruct
  4     A    I have not served on an institutional review            4 the witness not to answer questions about
  5 board.                                                           5 communications with attorneys.
  6     Q    Have you ever provided ethical guidance to              6 BY MS. MURPHY:
  7 an institutional review board?                                   7     Q   Are there any materials that you were asked
  8     A    I -- I don't recall specifically whether I              8 to --
  9 did or didn't, but I may have as part of our -- my               9           MS. MURPHY: I'm going to ask that
 10 work as a faculty member in the McClean Center for 10 question again because I don't believe that's covered
 11 Clinical Medical Ethics, and likewise here at Duke.             11 by attorney-client privilege. I'm not asking about
 12 I -- I can't recall if it was specifically an                   12 the substance of those communications; I'm asking
 13 institutional review board that was asking for input            13 about the materials that were provided or asked to be
 14 on a particular case.                                           14 reviewed.
 15     Q    How did you become involved in this case?              15           MR. BROOKS: I'm going to give the same
 16     A    I believe Mr. Brooks originally reached out            16 instruction.
 17 to me to ask if we could have a conversation about              17           MS. MURPHY: Mr. Brooks, are you
 18 potentially serving as an expert witness.                       18 contending that the materials provided to the expert
 19     Q    When did that conversation occur?                      19 in this case are protected by attorney-client
 20     A    I don't recall exactly, but sometime -- best           20 privilege?
 21 of my recollection, sometime in the fall of 2023.               21           MR. BROOKS: All I'm saying is that
 22     Q    And were you retained shortly thereafter?              22 communications between the expert and myself, or other

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  1 counsel for Alabama, are work product and he's not          1 preparing this report?
  2 going to answer questions about their substance. Your 2           A   Not that I recall.
  3 question goes to the substance, potentially, of such        3     Q   Have you been hired by Mr. Brooks in the
  4 communications.                                             4 past to work on any of his other cases?
  5           MS. MURPHY: No. I specifically said               5           MR. BROOKS: Objection.
  6 that my question does not involve -- I'm not asking         6     A   I was hired by the Alabama, as I recall
  7 about the substance of those communications. I'm            7 Attorney General's Office. But I do not recall having
  8 asking what he was asked to review.                         8 been hired by that office in any case in the past,
  9           MR. BROOKS: I disagree with your                  9 although I -- I can't be certain without looking
 10 characterization that that doesn't go to the substance 10 through my whole list of cases.
 11 of communications. I don't propose to argue. I have 11            Q   And do you have a personal or professional
 12 instructed the witness not to answer that question.        12 relationship with anyone involved in this case, apart
 13           MS. MURPHY: I mean, I think we're                13 from your retention as an expert?
 14 probably going to have to see -- in that case, I           14     A   I had a collegial relationship with Dr.
 15 reserve the right to reopen this deposition and ask        15 Antomaria.
 16 about the materials that were provided to the witness, 16         Q   Anyone else?
 17 if a Court decides that that's not privileged, which I     17     A   Not that I recall.
 18 believe that they will.                                    18     Q   Okay. Can you turn to paragraph 14 of your
 19 BY MS. MURPHY:                                             19 report, please? It says here that, quote, "I take as
 20     Q   Dr. Curlin, did you review anything beyond         20 a premise, based on the science reviewed and the
 21 what is listed on page 28 or what is listed in your        21 opinions offered by Drs. Cantor and Laidlaw, that the
 22 bibliography in order to prepare the report?               22 mental health benefits that are claimed to justify the
                                                    Page 103                                                        Page 105
  1     A   Not that I recall.                                  1 administration of medicalized gender affirmation
  2     Q   And I am anticipating an objection here, but        2 treatments to minors are currently unproven and
  3 for the record I'd also like to ask did the defendants      3 disputed among informed observers." Is that correct?
  4 ask you to review any materials that are not listed         4     A   That's what I wrote, yes.
  5 here?                                                       5     Q   And are you referring to science that you
  6           MR. BROOKS: Yes, the same instruction.            6 reviewed on your own, or is that the science that Drs.
  7 BY MS. MURPHY:                                              7 Cantor and Laidlaw reviewed?
  8     Q   Paragraph 20 of your report, if you could           8     A   I am referring to the science that they
  9 turn to that for a moment. In paragraph 20, it says         9 reviewed, within which I reviewed or that I refer to
 10 that you were asked to assume that the descriptions of 10 directly in the -- or in the -- the notes and in
 11 the articles and studies provided by Drs. Cantor and 11 the -- the report itself.
 12 Laidlaw are accurate; is that right?                       12     Q   Okay. Are you saying that you reviewed all
 13     A   I was asked to assume that the descriptions        13 the studies that they cited in their reports?
 14 of the articles and studies that they are accurate,        14     A   I am not saying that.
 15 for purposes of my opinions provided in this case.         15     Q   You reviewed only the ones that are cited in
 16     Q   Got it. And who asked you to make that             16 your bibliography; is that correct?
 17 assumption?                                                17     A   I did review the ones cited in my
 18     A   Mr. Brooks.                                        18 bibliography, and I do not know of reviewing others
 19     Q   And were you asked to assume anything else 19 that are not cited.
 20 for purposes of preparing this report?                     20     Q   Got it. And with respect to Dr. Cantor's
 21     A   Not that I recall.                                 21 report, what steps did you take to ensure that his
 22     Q   Did you make any other assumptions when            22 opinions were valid?

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  1     A    I -- as I noted, I -- I was asked to take,                 1 memory, but certainly people like the experts that are
  2 as a premise, that -- that the -- the -- the review,                2 involved in England and Sweden and Finland and
  3 the descriptions of the -- the science in Cantor and                3 Denmark, in reviewing the data and conducting their
  4 Laidlaw's report was accurate, for the purposes of                  4 own systematic reviews of the data and making
  5 forming my opinion. I reviewed some of the -- some of               5 judgments about what the implications of the -- the --
  6 the documents that they referred to directly and --                 6 that review are.
  7 but I did not attempt to give a professional opinion                7    Q    I noticed that you happened to leave out the
  8 or judgment on the -- the full scope of the review of               8 United States. Would you consider experts here within
  9 the literature.                                                     9 the United States to be informed observers?
 10     Q    And is that the same with respect to the                  10    A    It depends on which person you're referring
 11 information that was in Dr. Laidlaw's report?                      11 to, but being in the United States does not keep one
 12     A    Yes, the same with Dr. Laidlaw's report.                  12 from becoming an informed observer.
 13     Q    Did you consider the credentials of Drs.                  13    Q    Is it your opinion that experts who believe
 14 Cantor and Laidlaw when deciding to rely on their                  14 that medicalized gender transition treatment is
 15 reports?                                                           15 ethical or not informed observers?
 16     A    As I said, I was asked to take as a premise               16    A    No, that is not my position. Otherwise,
 17 that these reports were accurate in their description              17 they could not be disputed if there were not
 18 of the literature, and I did that.                                 18 disagreement and dispute among informed observers.
 19     Q    Is it customary in medical ethics to take                 19    Q    Okay. In paragraph 15, you say, "I also
 20 others' work as a premise, without conducting                      20 take it as a premise, based on the science reviewed
 21 independent evaluation of that work?                               21 and the opinions offered by Drs. Cantor and Laidlaw,
 22     A    It is when you're asking a specific question              22 that the known or reasonably anticipated harms to
                                                            Page 107                                                            Page 109
  1 conditional on that description being accurate. So                  1 children and adolescents from MGT treatments are
  2 yes, just that far, yes.                                            2 substantial and serious, threatening sterilization,
  3      Q     And so just to be clear, with respect to                 3 failure to develop healthy sexual response, impaired
  4 paragraph 14, you didn't conduct any independent                    4 neurological" -- or brain -- "development, and
  5 assessment of the evidence that Drs. Cantor and                     5 multiple other harms to bodily health." Is that
  6 Laidlaw relied upon to draw your conclusion; did you? 6 correct?
  7      A     As I said, I reviewed a number of the items              7     A    Yes, that's what I wrote.
  8 that they reviewed in their reports, and just that                  8     Q    And are you referring to the science that
  9 far. I did my own review. But I was not attempting                  9 you reviewed or the science that Drs. Cantor and
 10 to give an expert opinion about the -- the whole of                10 Laidlaw reviewed?
 11 the medical literature on these questions.                         11            MR. BROOKS: Objection.
 12      Q     And when you say "informed observes," what 12                  A    I'm referring to their description of the
 13 do you mean by "informed observers"?                               13 science that they reviewed.
 14      A     I mean that observers meaning those who are 14                 Q    Did you review any science beyond what Drs.
 15 paying attention to this issue, and informed meaning 15 Cantor and Laidlaw reviewed in order to draw your
 16 people who are generally regarded as having the kind 16 conclusion with respect to paragraph 15?
 17 of expertise to -- that would distinguish them from a 17                  A    Not that I recall.
 18 layperson in giving an opinion about this -- this                  18     Q    And what do you mean here when you say
 19 issue or these issues.                                             19 "threatening sterilization"?
 20      Q     So in this particular instance, who would               20     A    Let me -- if I may, I want to make sure I
 21 you say qualifies as an informed observer?                         21 didn't misspeak. I -- I have continued to review
 22      A     I can't be comprehensive right here by                  22 science as it comes out, and I don't recall when their

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  1 review stopped. So in fact, the study by Glintborg               1     Q    What do you mean by impaired neurological or
  2 and Kaltiala, those two different studies, I can't               2 brain development?
  3 recall if Laidlaw, for example, referred to those in             3     A    Can you point me to where you're referring?
  4 Laidlaw's report. So I -- I don't recall, beyond                 4     Q    Sure. That's still in paragraph 15.
  5 those two, whether I reviewed further studies since              5     A    I'm referring there to Dr. Cantor and
  6 the scope of their report was drawn.                             6 Laidlaw's description of science that suggests that
  7     Q     Okay. But I think you testified earlier                7 brain development is itself dependent on, in certain
  8 that everything that you reviewed for purposes of                8 respects, on puberty and sexual maturation. And that
  9 formulating the opinions in your report were either              9 the blocking of such puberty and sexual maturation
 10 listed in your bibliography or in the page that has             10 blocks that aspect of neurological and brain
 11 the materials considered; correct?                              11 development that comes with puberty and sexual
 12     A     Correct, to the best of my recollection.              12 maturation.
 13     Q     And so you didn't review anything beyond              13     Q    And what aspect of MGT would threaten
 14 those materials for purposes of formulating your                14 impaired neurological development?
 15 opinion for paragraph 15; right?                                15     A    My understanding is that that aspect which
 16     A     Not to the best of my recollection.                   16 involves blocking -- particularly, which involves
 17     Q     Okay. So going back to threatening                    17 blocking the hormones that make -- that stimulate and
 18 sterilization, what do you mean by that?                        18 facilitate and make possible healthy development of
 19             MR. BROOKS: Sorry, Counsel, your voice 19 secondary sex characteristics that come along in
 20 dropped out. Just some computer issue. Just if you'd 20 puberty.
 21 restate that.                                                   21     Q    And also in that paragraph, what do you mean
 22             MS. MURPHY: Sure.                                   22 when you say "multiple other harms to bodily health"?
                                                         Page 111                                                              Page 113
  1 BY MS. MURPHY:                                                   1 What are those harms?
  2     Q   What do you mean by "threatening                         2     A   That was to include, as I list at paragraph
  3 sterilization"?                                                  3 35, lifetime lack of orgasm and sexual function, an
  4     A   I mean threatening to render the patient                 4 adverse effect acknowledged by Marci Bowers, current
  5 incapable of reproduction.                                       5 president of WPATH. Reduced bone development,
  6     Q   And can you be more specific about what                  6 especially in male-to-female transition. Harm to
  7 aspect of MGT would you assert threatened                        7 psychosocial development. And increased
  8 sterilization?                                                   8 cardiovascular risk, osteoporosis, and
  9            MR. BROOKS: Objection.                                9 hormone-dependent cancers.
 10     A   So I know as a physician that human                     10     Q   Okay. Moving to paragraph 18. Within this
 11 reproduction depends on sexual maturation. And so to            11 paragraph, you refer to available science. What
 12 block sexual maturation, as puberty-blocking hormones           12 available science are you referring to here?
 13 do intentionally, can result in infertility or                  13     A   As I say there, the available science
 14 sterilization.                                                  14 provided by Dr. Cantor, Dr. Laidlaw, and -- well,
 15     Q   And what do you --                                      15 that's the available science I'm referring to.
 16     A   And I also -- I mean, I know that as a                  16     Q   And again, you didn't conduct an independent
 17 baseline, but I also know that Dr. Cantor and Dr.               17 assessment of science. This is the science that was
 18 Laidlaw cited studies that indicate that that is a              18 reviewed by Drs. Cantor and Laidlaw, and that if they
 19 real risk of this treatment.                                    19 cited it and you listed it in your bibliography, that
 20     Q   And what do you mean when you say impaired              20 you reviewed?
 21 neurological brain development?                                 21             MR. BROOKS: Objection. Compound
 22     A   Say again?                                              22 question.

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  1     A   Yeah, that's --                                       1     Q   And so does that include studies that
  2     Q   It's a long question.                                 2 suggest that medical transition is safe? Or is it
  3     A   Too many questions.                                   3 only studies that say that medical transition is
  4     Q   Did you review any science beyond that which 4 unsafe?
  5 was reviewed by Drs. Cantor and Laidlaw?                      5            MR. BROOKS: Objection.
  6     A   Not to my knowledge, recollection.                    6     A   To my knowledge, it includes all medical
  7           MS. MURPHY: Mr. Brooks, this would not 7 studies that are looking at the -- or intends to
  8 be a terrible breaking point if we want to break for          8 include all studies that are looking at harms and
  9 lunch, because I was going to transition to a                 9 purported benefits of medicalized gender transition.
 10 different part of the report. Is this a good time?           10     Q   And did Drs. Cantor and Laidlaw review all
 11           MR. BROOKS: Up to the witness.                     11 such studies?
 12           THE WITNESS: Sounds good to me.                    12            MR. BROOKS: Objection.
 13           MR. BROOKS: He said yes. Thumbs up                 13     A   I don't know.
 14 for lunch.                                                   14     Q   Apart from the studies that you cited in
 15           MS. MURPHY: Okay, excellent. Is a                  15 your report, did you review any additional studies
 16 half an hour enough?                                         16 regarding the efficacy of gender-affirming care?
 17           THE WITNESS: That's a little short.                17     A   Not that I recall.
 18 Probably -- probably 40 minutes would do it.                 18     Q   Moving onto paragraph 27.
 19           MS. MURPHY: Okay, that's fine with me. 19                 A   Let me -- I want to make sure I'm correct.
 20 So 40 minutes, let's say -- well, I have 12:32.              20 I can't remember that if I cited Chen, et al.'s study
 21           MR. BROOKS: Quarter after?                         21 in the New England Journal of Medicine, but I have
 22           THE WITNESS: Yeah, let's do 1:15.                  22 that -- reviewed that at some point in this process.
                                                      Page 115                                                      Page 117
  1           MS. MURPHY: That's fine.                            1 I remember that.
  2           THE REPORTER: All right. The time is                2     Q   Did you review it prior to preparing and
  3 12:32 p.m. We're now off the record.                          3 submitting your report?
  4           (Off the record.)                                   4     A   I had reviewed it prior to being called as a
  5           THE REPORTER: The time is 1:21 p.m.                 5 witness in this case and then again during this
  6 We are now back on the record.                                6 process.
  7           MS. MURPHY: Thank you.                              7     Q   Okay, I'm sorry. Just to clarify. When you
  8 BY MS. MURPHY:                                                8 say being called as a witness, do you mean you
  9     Q   Dr. Curlin, if you could turn to paragraph            9 reviewed it prior to being retained as a witness?
 10 20 of your report?                                           10     A   Yes.
 11     A   Okay.                                                11     Q   Okay. So in paragraph 27, you say, "Studies
 12     Q   Okay. In that paragraph it says that you've          12 summarized by Drs. Cantor and Laidlaw likewise
 13 "read the descriptions of the state of knowledge             13 document serious uncertainty about the efficacy and
 14 provided in the expert reports submitted by Drs.             14 safety of MGT as a treatment for gender dysphoria."
 15 Cantor and Laidlaw." Correct?                                15 Correct?
 16     A   Yes.                                                 16     A   That is what I wrote, yes.
 17     Q   And could you describe what you mean as "the17              Q   And have you read any studies that have
 18 state of knowledge"?                                         18 found that gender-affirming medical care is
 19           MR. BROOKS: Objection.                             19 efficacious and safe?
 20     A   I mean that this is a description of what is         20     A   I have read studies -- reports of studies
 21 known with respect to scientific evidence regarding          21 where the authors allege that medicalized gender
 22 medicalized gender transition.                               22 transition is efficacious and safe.

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  1     Q     And what studies are those?                         1            MR. BROOKS: Objection. The witness
  2     A     Well, the Chen study, to the best of my             2 has just testified he hasn't seen this document. He
  3 recollection, the authors claimed at the end of their         3 has, you know, a quarter of a page up on a screen
  4 report that medicalized gender transition was                 4 here.
  5 effective, beneficial. And I've read the Rhafferty            5            MS. MURPHY: Fair enough.
  6 report, which was not collecting data, but is one of          6 BY MS. MURPHY:
  7 the reports that's referred to in this case. I know           7    Q     So just to confirm, for the sake of good
  8 that in that report, Rhafferty alleges that                   8 order, you didn't review this study prior to drafting
  9 medicalized gender transition is effective and safe,          9 your report; correct?
 10 or least to the best of my recollection.                     10    A     Not that I recall.
 11         And I -- I know I've read some other reports         11            MS. MURPHY: At this point, I want to
 12 over the years, but I don't remember the -- the              12 mark Exhibit Number 5, and this is the study that was
 13 details at this point.                                       13 by Smith, and it's called, "Sex Reassignment: Outcomes
 14     Q     For what reason did you not cite the Chen          14 and Predictors of Treatment for Adolescent and Adult
 15 study in your report?                                        15 Transsexuals."
 16     A     Well, I -- Cantor and Laidlaw -- well, I           16            (Exhibit 5 was marked for
 17 know Cantor refers to Chen's study. I can't recall if        17            identification.)
 18 Laidlaw did as well. And the description of Cantor           18 BY MS. MURPHY:
 19 about that study, as best I recall, aligned with my          19    Q     Can you pull that one up? And just let me
 20 own impression of the study. And so I didn't cite            20 know whenever you have it pulled up, please.
 21 that -- didn't -- I -- I don't know why further that I       21    A     I have it pulled up.
 22 didn't cite that particularly.                               22    Q     And, Dr. Curlin, have you reviewed this
                                                      Page 119                                                              Page 121
  1            MS. MURPHY: All right. At this point,              1 study?
  2 I'd like to mark Exhibit 4, and I'll just state for           2    A     I do not recall having reviewed this study.
  3 the record that this is a study by de Vries, titled           3    Q     And so is it correct then that this is not a
  4 "Young Adult Psychological Outcome After Puberty              4 study that you considered in preparing your report?
  5 Suppression and Gender Reassignment."                         5    A     As I -- as I said in the report, I took the
  6            (Exhibit 4 was marked for                          6 description by Cantor and Laidlaw on the state of the
  7            identification.)                                   7 evidence. And I don't recall offhand whether this was
  8            THE WITNESS: One moment.                           8 one of the studies they reviewed. But I took that to
  9            MS. MURPHY: Sure. Just let me know                 9 be accurate, for the purposes of the questions I was
 10 when you have it pulled up.                                  10 asked to consider. And for that reason, no, I did
 11            THE WITNESS: I do. Is the author, the             11 not.
 12 first author, Annelou?                                       12    Q     Okay. If you don't mind just turning to
 13            MS. MURPHY: Yes. Correct, that's it.              13 paragraph 29 of your report. In paragraph 29, you
 14 BY MS. MURPHY:                                               14 cite Dr. Cantor's conclusion that "No studies have
 15     Q   Dr. Canter, have you reviewed this study             15 documented any reduction in suicide rates in minors or
 16 before?                                                      16 any population as a result of medical transition." Is
 17     A   Dr. Curlin, you mean.                                17 that correct?
 18     Q   I'm sorry. Dr. Curlin.                               18    A     Yes, I cite Dr. Cantor and -- and his
 19     A   I don't recall reviewing this directly.              19 observation that that's a fact acknowledged by WPATH.
 20     Q   And do you agree that this is a longitudinal         20    Q     And am I correct to assume that you didn't
 21 study about the effectiveness of puberty blockers to         21 do any independent research on this topic?
 22 treat gender dysphoria in adolescents?                       22    A     That's correct. I -- as instructed, I took

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  1 the reports of Cantor and Laidlaw to be accurate with               1 Cantor and -- and/or Dr. Laidlaw, but I have not
  2 respect to their description of the science in this                 2 reviewed it directly.
  3 regard.                                                             3     Q    Okay. What is your understanding of the
  4             MS. MURPHY: Okay. I would like to                       4 outcome of this study?
  5 mark as Exhibit 6, the study by Green, and that's the               5     A    I -- I don't recall.
  6 one that's titled, "Association of Gender-Affirming                 6     Q    Turning to paragraph 30 of your report.
  7 Hormone Therapy With Depression, Thoughts of Suicide,               7 Okay. Here you talk about a study that you reviewed
  8 and Attempted Suicide Among Transgender and Nonbinary 8 by Glintborg, and this is a study that is described in
  9 Youth."                                                             9 Dr. Cantor's supplemental report; correct?
 10             (Exhibit 6 was marked for                              10     A    That's my -- yes, that's my recollection.
 11             identification.)                                       11     Q    Okay. And just so we're all on the same
 12             MS. MURPHY: And if you may --                          12 page, this is the study that's entitled
 13             MR. BROOKS: Give us a moment here.                     13 "Gender-Affirming Treatment and Mental Health
 14             THE WITNESS: Yeah, sorry.                              14 Diagnosis in Danish Transgender Persons: A Nationwide
 15             MS. MURPHY: Yeah.                                      15 Register-Based Cohort Study."
 16             THE WITNESS: Okay, I have that study                   16     A    I need to look at the -- my endnotes to see
 17 by Green up on the screen.                                         17 if that's the title.
 18 BY MS. MURPHY:                                                     18     Q    Sure.
 19    Q      And is this a study that you're familiar                 19     A    This is the Glintborg study?
 20 with?                                                              20     Q    Yes.
 21    A      I don't have memory of reviewing this study              21     A    So I have "Gender-Affirming Treatment and
 22 directly.                                                          22 Mental Health Diagnosis in Danish Transgender Persons:
                                                            Page 123                                                             Page 125
  1     Q     And what do you mean by "directly"?                       1 A Nationwide Register-Based Cohort Study."
  2     A     Meaning I did not independently look at this              2     Q    Okay. So just to confirm, you reviewed this
  3 study. I took the description by Cantor and Laidlaw                 3 study yourself; correct?
  4 to be accurate for the purposes of describing                       4     A    That's correct.
  5 the -- the state of knowledge in this area.                         5     Q    And in this study, how did the researchers
  6     Q     Okay. So you've never reviewed this study?                6 measure participants' mental health?
  7     A     As I said.                                                7     A    I -- I don't recall the details. I'd have
  8             MS. MURPHY: Okay. Then I would like                     8 to look back through the study.
  9 to mark as Exhibit 7, a study by Turban, and this one               9     Q    Okay. And do you recall whether the
 10 is titled, "Access to Gender-Affirming Hormones During             10 researchers reviewed medical files of the patients?
 11 Adolescence and Mental Health Outcomes Among                       11     A    I -- I don't recall the details of how the
 12 Transgender Adults."                                               12 study were done -- was done.
 13             (Exhibit 7 was marked for                              13     Q    Okay. What conclusions did you draw from
 14             identification.)                                       14 your review of this study?
 15 BY MS. MURPHY:                                                     15     A    That the study intended to include the
 16     Q     And I'd appreciate it if you can pull that               16 medical records of all individuals in Denmark
 17 one up too, please.                                                17 diagnosed with gender dysphoria or gender incongruence
 18     A     I have the study, the first author of which              18 from 2000 to 2021. That included about 3,800
 19 is Jack Turban, up on the screen.                                  19 patients, among whom a little more than 2,000
 20     Q     Okay. And are you aware of this study?                   20 underwent medicalized gender transition. And that the
 21     A     I'm aware of this study, insofar as it was               21 study found that prescriptions of psychoactive
 22 referred to in the reviews by at least -- by Dr.                   22 medications increased rather than decreased after the

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  1 start of medicalized gender transition, and they                    1 wrote was that prescriptions of psychoactive
  2 remained elevated across multiple years.                            2 medications increased rather than decreased after the
  3         It also found that measures of negative                     3 start of medicalized gender transition and remained
  4 mental health compared against controls were -- "were 4 elevated across multiple years. So that was my --
  5 stable after initiation of gender-affirming hormone                 5 that was my understanding from reading the study.
  6 treatment, without sign of decrease after date for                  6     Q    Okay. Now in your clinical experience, when
  7 first prescription of gender-affirming hormone." That 7 a patient is undergoing treatment for a condition and
  8 was a quote from the -- from the authors themselves.                8 the treatment appears to be working, is that an
  9 Which is, in my words, that the mental health of the                9 indication that the treatment should be stopped?
 10 patients who received medicalized gender transition 10                            MR. BROOKS: Objection.
 11 did not, on average, improve as a result of or                     11     A    Just -- I want to note that there seems to
 12 following initiation of medicalized gender transition. 12 be a hidden premise, so I just want to specify it's a
 13     Q    But the study did not conclude that the                   13 false premise, which is that that's what we're
 14 mental health declined after initiation of treatment;              14 describing in this case or that's what my opinion is
 15 correct?                                                           15 describing in this case.
 16     A    That's my recollection, that -- that it did               16         So generally speaking, that a treatment is
 17 not, except insofar as being on more psychoactive                  17 working is not necessarily evidence that that
 18 medications may be a proxy for having greater mental 18 treatment should be stopped. Sometimes it is, if you
 19 healthcare problems.                                               19 expect that -- that treatment restores health and is
 20     Q    I'm sorry, can you point to the portion of                20 not required to -- to sustain health. It would depend
 21 the study which says that they were on more                        21 on the case and the condition.
 22 psychoactive medications?                                          22     Q    This study did not conclude that patients
                                                            Page 127                                                               Page 129
  1            MR. BROOKS: Objection. The witness                       1 receiving gender-affirming care were worse than before
  2 doesn't have the study in front of him.                             2 treatment; correct?
  3 BY MS. MURPHY:                                                      3           MR. BROOKS: Objection.
  4    Q    In that case -- well, let me ask you this.                  4     A   My understanding was it concluded that
  5 Dr. Curlin, can you answer that question without the                5 there -- they did not improve, which is -- but I
  6 study in front of you?                                              6 didn't -- but I -- and that their -- their measures of
  7    A    I think you asked me to point to it, and no,                7 negative mental health did not worsen. They remained
  8 I cannot point to it without it being in front of me.               8 stable "after initiation of gender-affirming hormone
  9 I do include a page number in my citation there.                    9 treatment, without sign of decrease after date for
 10            MS. MURPHY: Okay. We can pull up the                    10 first prescription of gender-affirming hormone."
 11 study. But I'm sorry, I'm going to ask the court                   11 That's a quotation of the authors.
 12 reporter to read back my question.                                 12     Q   Got it. So in paragraph 31 of your report,
 13            THE WITNESS: Sure.                                      13 and I apologize, I don't know I'm going to pronounce
 14            THE REPORTER: All right, just a                         14 this correctly, but you mention a study by Kaltiala.
 15 moment.                                                            15           THE REPORTER: Can you spell that?
 16            (The reporter repeated the record as                    16           MS. MURPHY: K-A-L-T-I-A-L-A.
 17            requested.)                                             17           THE REPORTER: Thank you.
 18 BY MS. MURPHY:                                                     18 BY MS. MURPHY:
 19    Q    Dr. Curlin, when you say "more psychoactive                19     Q   And this was a 2003 study; correct?
 20 medications," do you mean more medications in number               20     A   That's -- that's correct.
 21 or an increase in dosage?                                          21     Q   And just to confirm once again, this is a
 22    A    I -- I don't recall the details, but what I                22 study that you reviewed; right?

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  1     A   I did review that, yes.                                    1 Correct?
  2     Q   And how do the researchers in this study                   2     A    That is what I said, yes.
  3 measure participants' mental health?                               3     Q    Okay. Are you aware that every major
  4     A   I -- I don't recall in detail. I only                      4 medical association in the United States supports
  5 recall what -- what I summarized here or what I                    5 gender-affirming care?
  6 specified here.                                                    6            MR. BROOKS: Objection, lack of
  7     Q   Okay. And this study did not conclude that                 7 foundation.
  8 the patients receiving gender-affirming care were                  8     A    I don't know about every major medical
  9 worse than before treatment; right?                                9 association.
 10     A   It did not conclude, to the best of my                    10     Q    Are you aware that the American Medical
 11 recollection, that they were worse as measured by need            11 Association supports gender-affirming care in
 12 for psychiatric treatment. So on that -- in that one              12 adolescents?
 13 specific outcome, that it concluded that they, like               13            MR. BROOKS: Same objection. Assumes
 14 the Glintborg study, they did not -- following                    14 facts not in evidence.
 15 medicalized gender transition, their need for                     15     A    I am aware that at least some statement by
 16 psychiatric treatment did not go down.                            16 some arm of the American Medical Association has
 17     Q   And was that measured by the number of                    17 expressed support for medicalized gender transition.
 18 contacts they had with mental health providers?                   18     Q    And what about the American Academy of
 19     A   I don't recall how -- what -- what the                    19 Pediatrics? Are you aware that they have supported
 20 specific proxy was for need for psychiatric treatment.            20 gender-affirming care for adolescents?
 21     Q   And can you say definitively, based on this               21            MR. BROOKS: Objection.
 22 study, that because they continued to have contact                22     A    I am aware of the -- the position statement
                                                           Page 131                                                         Page 133
  1 with mental health providers that their mental health              1 authored by Rhafferty, which was put forward as a
  2 condition stayed the same?                                         2 statement of the American Academy of Pediatrics and
  3     A    No, I can't say that definitively. We can                 3 was quite enthusiastic about medicalized gender
  4 only say that this proxy for need for psychiatric                  4 transition.
  5 treatment did not improved after medicalized gender                5     Q    And are you aware that the American
  6 transition.                                                        6 Psychiatric Association supports gender-affirming
  7     Q    Based simply on the fact that they continued              7 care?
  8 to see a mental health provider?                                   8            MR. BROOKS: Objection, assumes facts
  9     A    If that was -- again, as I said a moment                  9 not in evidence.
 10 ago, I don't recall the -- how they measured that,                10     A    I don't recall that, but I don't have memory
 11 whether that was number of visits to psychiatric                  11 that that's not the case.
 12 providers or number of prescriptions or frequency of 12                  Q    So going back to the portion of your report
 13 visits, I don't recall what the proxy was.                        13 that I just read, paragraph 33, how do you determine
 14     Q    Okay. Paragraph 33 of your report, if you                14 whether a particular treatment is medically necessary?
 15 wouldn't mind turning to that, please.                            15     A    It depends to some extent on the situation,
 16     A    I'm there.                                               16 but by medically necessary I mean that there is
 17     Q    Okay. And here you say, "All of this                     17 sufficient evidence that there's a threat to the
 18 contradicts the plaintiffs' claim that MGT is                     18 patient's health that is eminent and that the
 19 medically necessary, since an intervention cannot be 19 intervention in question, we have reasonable certainty
 20 said to be medically necessary if the benefits of the             20 that it is an intervention that is likely to benefit
 21 intervention are unproven, or indeed are cast into                21 the patient by preventing the threat to the patient's
 22 serious doubt by the most recent large-scale studies." 22 health or resolving that threat, and there are no

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  1 other confounding factors that might, you know, change               1       A   I have not testified to that effect, and
  2 that judgment.                                                       2 that is not my opinion. I -- I don't -- I'd have to
  3     Q    And when you talk about threats to patient                  3 think that through and consider -- consider details
  4 health, are you including threats to their mental                    4 that I can't consider here on the fly.
  5 health as well?                                                      5       Q   Okay. Are you offering an opinion that
  6     A    Toward any aspect of their health.                          6 gender-affirming medical care is unproven?
  7     Q    And just to be clear, that includes their                   7       A   It's my opinion that if the state of the
  8 mental health?                                                       8 evidence is as described by Dr. Cantor and Laidlaw,
  9     A    It would include their mental health. Yes,                  9 then medicalized gender transition is very clearly
 10 it would include their mental health.                               10 unproven with respect to the hoped-for outcomes that
 11     Q    Now if a particular treatment is not                       11 its proponents claim it brings about.
 12 medically necessary, is it your opinion that that                   12       Q   In paragraph 33, you refer to recent
 13 treatment should be criminalized?                                   13 large-scale studies. Which studies are you referring
 14            MR. BROOKS: Objection.                                   14 to?
 15     A    I have not testified to that effect, and --                15       A   I don't recall exactly what I was referring
 16 and no, that is not my testimony.                                   16 to when I wrote this, but I -- I know it included the
 17     Q    Now if a particular treatment is not                       17 Glintborg and Kaltiala study. I think it also
 18 medically necessary, should it be made unavailable to               18 includes the -- the large-scale systematic reviews
 19 patients --                                                         19 conducted by a number of different bodies of experts.
 20            MR. BROOKS: Objection.                                   20       Q   Moving on to paragraph 34. And it says
 21 BY MS. MURPHY:                                                      21 here, "While the benefits of MGT for minors are at
 22     Q    -- regardless of their belief that they                    22 best unproven, the evidence summarized by Drs. Cantor
                                                             Page 135                                                              Page 137
  1 would benefit from it?                                               1 and Laidlaw also indicates that MGT in minors poses
  2     A    To clarify, my point here is that the                       2 risk of objective, often irreversible, harms to
  3 plaintiffs have not shown that this intervention is                  3 health, while also requiring life-long dependence on
  4 medically necessary. It does not follow that anything                4 medical interventions." Is that correct?
  5 that is not medically necessary must then be                         5       A    That's what I wrote there, yes.
  6 criminalized. Whether a particular intervention                      6       Q    And what evidence are you referring to here?
  7 should be prohibited and by whom is -- depends on a                  7       A    I'm talking about the evidence summarized by
  8 lot of factors.                                                      8 Drs. Cantor and Laidlaw.
  9         But the point here is -- which I take to be                  9       Q    Okay. What do you mean by "life-long
 10 a pretty straightforward point, is that the plaintiffs              10 dependence on medical interventions"?
 11 have not shown that medicalized gender transition is                11       A    Well, I'm thinking here specifically of the
 12 medically necessary in any reasonable understanding of              12 fact that cross-sex hormones principle, if someone
 13 that term.                                                          13 sustains a desire to suppress their ordinary healthy
 14     Q    You would agree that you have not reviewed                 14 sexual -- secondary sex characteristics, to my
 15 all available evidence on the safety and efficacy of                15 knowledge, requires ongoing administration of those
 16 gender-affirming care; correct?                                     16 hormone indefinitely.
 17     A    I have not attempted to review all of the                  17       Q    Is it uncommon for healthy individuals to
 18 available evidence regarding medicalized gender                     18 require medication for the rest of their life?
 19 transition.                                                         19       A    It is exceptionally uncommon, and I at the
 20     Q    And is it your opinion that there are no                   20 moment can't think of another situation in which
 21 negative health consequences of delaying or denying                 21 people who are healthy, according to the standard
 22 gender-affirming treatment?                                         22 medical norms, take some kind of drug for lifelong

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  1 that counteracts and contradicts that ordinary healthy              1              MR. BROOKS: Objection.
  2 development and expression, particularly when those                 2     A      I -- I am not aware of what they did. In
  3 interventions carry known significant adverse side                  3 fact, I only know what they said here, which was that
  4 effects.                                                            4 they would not initiate gender dysphoric patients --
  5     Q      Turning to paragraph 36 of your report. In               5 that they would not initiate medicalized gender
  6 this paragraph, you cite to the 2021 article by the                 6 transition in gender dysphoric patients under the age
  7 Karolinska Institute; is that right?                                7 of 16.
  8     A      Give me a moment.                                        8              MR. BROOKS: And, Counsel, let me just
  9     Q      Sure.                                                    9 step in. It is the classic after lunch period, and I
 10     A      Okay. And what is your question?                        10 want to encourage the witness to speak up. Always a
 11     Q      Sure. Did you read this article?                        11 problem at two o'clock in the afternoon.
 12     A      I can't recall. I may have.                             12              MS. MURPHY: Sure.
 13     Q      Okay. Then do you recall what it's about?               13 BY MS. MURPHY:
 14     A      Just --I only recall the part that I've                 14     Q      And, Dr. Curlin, are you aware that in
 15 cited here.                                                        15 Sweden, gender-affirming care for adults and youth is
 16     Q      And so we're on the same page, the part that            16 fully paid for by the National Health System?
 17 you cited, it says, "In light of the above, and based              17              MR. BROOKS: Objection, assumes facts
 18 on the precautionary principle, which should always be             18 not in evidence.
 19 applied, it has been decided that hormonal treatments,             19     A      I don't have any knowledge about that that I
 20 i.e. puberty blocking and cross-sex hormones, will not             20 recall.
 21 be initiated in gender dysphoric patients under the                21     Q      Okay. If you could, please turn to
 22 age of 16." Correct?                                               22 paragraph 38 of your report.
                                                            Page 139                                                             Page 141
  1              MR. BROOKS: Objection. You've read                     1     A     I'm there.
  2 only part of the quote in the paragraph.                            2     Q     Okay. In that paragraph you state that MGT
  3     A      I did that -- what you read is a part of                 3 induces hormone levels that are abnormal; right?
  4 what I quoted in this paragraph.                                    4     A     Which paragraph is this?
  5     Q      Okay. And do you know what specific studies              5     Q     Paragraph 38.
  6 the clinic based their decision to limit care on?                   6     A     Okay, hang on one second.
  7     A      I only know that they -- as best I recall,               7     Q     It's the last line of that paragraph.
  8 they took into account -- review of the available                   8     A     Okay, I've -- I see the paragraph.
  9 scientific evidence that was commissioned by Sweden's               9     Q     Okay. What do you mean by "abnormal"?
 10 National Board of Health, and that that review had                 10     A     I mean that it induces levels that are not
 11 concluded that hormonal interventions in minors are                11 found in healthy persons of that sex, of the sex of
 12 fraught with extensive -- I'm sorry, actually, I don't             12 the patient, and which if they were found are a sign
 13 know if it was that review or if it was the leading                13 of ill health, of disease, of disorder, in every
 14 clinic itself that concluded that hormonal                         14 context -- in every other context.
 15 interventions in minors are fraught with extensive and             15     Q     And do you agree, though, that individual
 16 irreversible adverse consequences, such as                         16 hormone levels vary between members of the same sex?
 17 cardiovascular disease, osteoporosis, infertility,                 17     A     They vary to some extent.
 18 increased cancer risk, and thrombosis.                             18     Q     And so how would you describe normal hormone
 19     Q      And are you aware that the clinic placed                19 levels then?
 20 some limitations on providing gender-affirming care                20     A     Well, I can't cite to you what the actual
 21 but they did not discontinue the use of                            21 normal range is within two standard deviations for age
 22 gender-affirming care in adolescents altogether?                   22 and sex-matched groups, but a normal hormone level is

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  1 one that you characteristically find in people whose                1 Having a mental disorder of, in this case, that
  2 health -- whose bodies are well working, who -- who                 2 involves your perception, one's perception of their
  3 are healthy and don't have a disorder that affects the              3 secondary sex characteristics, does not imply that one
  4 production of hormones. And medicalized gender                      4 has a medical disorder with respect to those secondary
  5 transition, cross-sex hormones, induces levels that                 5 sex characteristics. There's nothing wrong in that
  6 are not found normally.                                             6 case with the secondary sex characteristics, medically
  7     Q   Okay. So a woman who is undergoing                          7 speaking.
  8 perimenopause, which is a normal, healthy transition,               8     Q   Okay. Who is capable of making a diagnosis
  9 would taking hormone replacement drugs be considered                9 of gender dysphoria?
 10 inducing abnormal hormone levels?                                  10     A   I don't have a formed opinion on that
 11     A   I don't know what hormone levels are induced               11 question.
 12 by hormone-replacement therapy in that clinical                    12     Q   Okay. Do you have an understanding of the
 13 context, but I know that it's not a level of                       13 goals of the interventions that are prescribed
 14 testosterone that is induced by cross-sex hormones in              14 occasionally for gender dysphoria?
 15 someone who's a female sex, in that context.                       15     A   It depends on which descriptions you mean.
 16     Q   And what's the basis for your opinion that                 16     Q   Let's take puberty.
 17 MGT induces hormone levels that are abnormal?                      17     A   Which interventions do you mean?
 18     A   It's my knowledge, from my medical training,               18     Q   Sure. Let's take, for instance, puberty
 19 of sex hormones in males and females, and also the                 19 blockers. What is the goal of that intervention when
 20 descriptions of medicalized gender transition by those             20 prescribed for gender dysphoria?
 21 proponents of medicalized gender transition, as to                 21     A   My understanding is, based on the
 22 what they're seeking to induce.                                    22 descriptions of the plaintiffs' experts and
                                                            Page 143                                                         Page 145
  1     Q   Turning to page 9, if you're not already                    1 descriptions otherwise of folks who practice these
  2 there, the subheading there says, "The fact that GD is              2 interventions, the goal is to prevent the -- the
  3 listed as a disorder in the Diagnostic and Statistcal               3 secondary sex characteristics that are normally going
  4 Manual of Mental Disorders, DSM-5, does not imply that              4 to develop in puberty in a person of that sex from
  5 GD marks a disorder of the body that warrants MGT in                5 developing.
  6 minors." Correct?                                                   6     Q   And what is your understanding of the goals
  7     A   That's right. That's what I wrote.                          7 of prescribing cross-sex hormones for individuals with
  8     Q   Okay. But you agree that gender dysphoria                   8 gender dysphoria?
  9 is listed in the DSM-5 as a disorder?                               9     A   My understanding is that the -- the goal of
 10     A   I do understand that gender dysphoria is                   10 those who are prescribing such hormones is to induce
 11 listed in the DSM-5 as a disorder. Specifically as a               11 development of secondary sex characteristics that are
 12 mental disorder.                                                   12 more like, insofar as possible, more like the expected
 13     Q   Okay. And what do you mean by "disorder of                 13 secondary sex characteristics in a healthy person of
 14 the body"?                                                         14 the opposite sex.
 15     A   A disorder of the body. I'm not sure how                   15     Q   Okay. Moving onto paragraph 40, and there
 16 much more simple to make that.                                     16 you refer to gender dysphoria as a disorder of
 17     Q   Well, let me ask this. Does a disorder of                  17 perception; is that correct?
 18 the body include mental health disorders?                          18     A   Give me a second.
 19     A   So because human beings are human animals,                 19     Q   Sure.
 20 in an important sense, all human disorders are bodily              20     A   Okay. Can you repeat your question?
 21 disorders. But here what I'm highlighting is that                  21     Q   Sure. You refer to gender dysphoria as a
 22 gender dysphoria is recognized as a mental disorder.               22 disorder of perception; correct?

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  1     A    I can't recall if I specifically said it's a             1 independent bodies are you referring to?
  2 disorder of perception, but I do describe it as a --              2            MR. BROOKS: Objection, asked and
  3 as a condition in which the person suffering it                   3 answered.
  4 perceives their secondary sex characteristics as being 4                A    Yeah. I don't remember the exact names,
  5 at odds with their wellbeing. And -- and that in this             5 except the abbreviation for the English authority is
  6 case, the -- those secondary sex characteristics are,             6 the -- that did the systematic review is the -- is
  7 at least in the typical case to my understanding, are             7 NICE. But I -- there was also a Swedish body that did
  8 objectively healthy and expected secondary sex                    8 a systematic review. As I recall, also one done in
  9 characteristics for a person of their sex.                        9 Finland. And it -- it was bodies -- those bodies and
 10     Q    And so you refer to it the sixth line up                10 perhaps others that are referred to in the reports by
 11 from the bottom of that paragraph. You refer to it as 11 Cantor and Laidlaw.
 12 a disordered perception; correct?                                12     Q    Okay. Now in paragraph 43, is it fair to
 13     A    I see that, yes. And just insofar as I've               13 say that you take issue with the guidelines issued by
 14 described, I -- in my judgment, it is objectively                14 the Endocrine Society?
 15 disordered in that respect.                                      15     A    I can't answer that question. That's -- I
 16     Q    Okay. Is disordered perception a term used              16 don't know what it means to take issue, and I don't
 17 in the DSM-5?                                                    17 know which guidelines you're talking about.
 18     A    I -- I can't recall. It's certainly been                18     Q    Do you have an opinion on the guidelines
 19 used in my clinical training.                                    19 issued by the Endocrine Society?
 20     Q    Okay. Moving on to paragraph 42. Just let               20            MR. BROOKS: Objection.
 21 me know when you get there.                                      21     A    So I took, as I was asked, to be accurate,
 22     A    I'm there.                                              22 the reports by Cantor and Laidlaw and their summary,
                                                          Page 147                                                            Page 149
  1     Q   Okay. In the second sentence you say,                     1 and Cantor described the Endocrine Society guidelines
  2 "Indeed, the health authorities and independent bodies            2 as not relying on any systematic review of evidence of
  3 that have systematically reviewed the scientific                  3 efficacy of any form of treatment for gender
  4 evidence regarding MGT in minors have concluded that              4 dysphoria. I take that to be a true statement. I
  5 evidence is insufficient to justify the conclusion                5 have not tried to go through the Endocrine Society's
  6 that MGT improves even mental health outcomes."                   6 citations and verify that.
  7 Correct?                                                          7    Q    Okay. And is that the same for the
  8     A   That's correct.                                           8 guidelines issued by WPATH?
  9     Q   And what did you review to make this                      9    A    That's correct. I took to be accurate, for
 10 conclusion?                                                      10 the purposes of my -- of the questions I was asked,
 11     A   The -- the reports by Cantor and Laidlaw,                11 Cantor and Laidlaw's description of the review
 12 and then I reviewed some of those reports by experts             12 conducted by WPATH.
 13 in England and Finland, Denmark myself.                          13    Q    And what about the American Academy of
 14     Q   Okay. In that --                                         14 Pediatrics 2018 policy statement?
 15     A   Actually, I don't recall if it was Denmark.              15    A    The same.
 16 England, Sweden, Finland.                                        16    Q    Okay. Turning now to paragraph 44, please.
 17     Q   Okay. And in that latter category of                     17    A    I'm there.
 18 research that you just described, those are all                  18    Q    Okay. It says here that your "own review of
 19 documents that you've cited in your report; correct?             19 SOC 8 indicates WPATH has problematically minimized
 20     A   I -- I cited them or they were cited by                  20 the doctor's responsibility to exercise independent
 21 Cantor and Laidlaw.                                              21 judgment and fiduciary responsibility to guide patient
 22     Q   Okay. And what health authorities or                     22 care for minors." Correct?

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  1      A     Yes, that's correct.                                     1     A     Well, in -- in 85 I had, "Much has been made
  2      Q     And can you describe your reasoning behind               2 of the importance of autonomy, but the ethical
  3 this conclusion?                                                    3 standard for medical decision-making with respect to
  4      A     I think I make it plain in my -- in my                   4 minors is decidedly not self-determination." And then
  5 report.                                                             5 I go on to explain the basis for that statement.
  6      Q     Okay. Well then, you know, simply for                    6     Q     Okay. Can you describe, for the purposes of
  7 purposes of this deposition, can you summarize that                 7 this deposition, why it is that you believe that
  8 for me, please?                                                     8 self-determination does not apply to adolescents?
  9      A     Sure. The problem is that WPATH, in its SOC 9                  A     Adolescents, as minors, have long been
 10 8, uses language of the importance of -- well, give me 10 understood as among what we call, in the field of
 11 a second and I'll tell you precisely.                              11 medical ethics, vulnerable populations. The -- as the
 12          Okay, so in paragraph 84 of my report, I                  12 Belmont Report put it, respect for autonomy involves
 13 write, "In its Standards of Care, version 8, WPATH                 13 effectively respecting the authority of adults, but it
 14 suggests that gaps in evidence demonstrating the                   14 also involves protecting those who don't have that
 15 safety and efficacy of MGT should not prevent the use15 level of autonomy, which among whom have always
 16 of MGT in adolescents" -- quote -- "given the ethics 16 been -- included children.
 17 of self-determination in care."                                    17         So doctors have a fiduciary relationship to
 18          The new guidelines also emphasize,                        18 children to consider what is in the best interest of
 19 quote -- or a, quote, "right to bodily and mental                  19 children, without respect in many cases to -- or
 20 integrity, autonomy, and self-determination." And a 20 notwithstanding, I should say, in many cases
 21 punitive need for healthcare practitioners to, quote,              21 children's opinions about what is in their best
 22 "match the treatment approach to the specific needs of22 interest.
                                                            Page 151                                                             Page 153
  1 patients, particularly their goals for gender identity              1     Q    And so let me make sure I understand this
  2 and expression."                                                    2 correctly. Are you saying that children's opinions
  3          And the problem is that the medical                        3 should play no role in decisions about treatment?
  4 ethics -- the standard within the practice of medicine              4     A    I have not said that. I've said, as I do in
  5 and medical ethics with respect to decision making for              5 my report, that the children -- a child's opinion that
  6 minors is self-consciously and specifically not                     6 a particular intervention is good for them is not
  7 governed by self-determination. And so the WPATH is                 7 sufficient to -- to justify that intervention. That
  8 effectively appealing to a concept that has relevance               8 intervention must be reasonably understood by the
  9 with respect to the autonomy of adults, but has long                9 physician on -- on some kind of reasonable basis to
 10 been understood to not apply as a -- as a governing                10 actually be conducive to the medical benefit to
 11 concept in the care of children.                                   11 the -- the benefit of the health of that child.
 12          And -- and to appeal to that as -- to appeal              12         That's a -- that's the fundamental
 13 to that concept which doesn't apply to overcome the                13 obligation of the physician. And so whereas adults
 14 absence of evidence for efficacy is, I think deeply                14 have more degrees of freedom to ask for and to consent
 15 problematic.                                                       15 to interventions that are not necessarily good for
 16     Q     All right. Dr. Curlin, I'm sorry, you                    16 their health, under the law and under this principle
 17 probably said this correctly, but I just want to                   17 of respect for autonomy, children do not have that
 18 clarify for the record. I believe you were reading                 18 same authority.
 19 from paragraph 84 of your report; correct?                         19     Q    But in the case of MGT, it's the parents who
 20     A     Yes, I was.                                              20 are asked to provide consent for treatment; correct?
 21     Q     Okay. I think I heard 85, but regardless,                21     A    My understanding is the parents are asked to
 22 just so it's clear, it was 84.                                     22 provide consent, and the children are asked formally

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  1 to provide assent. But the language of                             1     Q   I see, okay.
  2 self-determination with respect to children                        2     A   And their emphasis on according with the
  3 contradicts that very idea of the parents providing                3 patient's goals, for a minor.
  4 consent and the children providing assent. If it were              4     Q   Okay. So I noticed that whenever you said,
  5 in fact the case that the key concept here is                      5 in answer to that question, you said patient goals and
  6 self-determination, then we would seek consent from 6 you put them in what's commonly referred to as air
  7 children. We don't do that in medicine, except in                  7 quotes. Can I ask if there was any meaning that you
  8 some specific situations.                                          8 ascribe to that for -- what meaning was there when you
  9     Q    Okay. Is that your only criticism of SOC 8                9 put that term in air quotes?
 10 or are there others?                                              10     A   I, in that case, was not using those as air
 11             MR. BROOKS: Objection.                                11 quotes, though I concede that that is the sign for air
 12     A    No, I would not say that is my only                      12 quotes. I meant that to indicate that I actually
 13 criticism.                                                        13 quoted them as saying, as I -- as I note in my
 14     Q    Do you agree that SOC 8 is a set of clinical             14 paragraph 84. There's a -- there's a punitive need
 15 guidelines?                                                       15 for healthcare practitioners to, quote, "match the
 16             MR. BROOKS: Objection.                                16 treatment approach to the specific needs of the
 17     A    Yeah, I -- I -- I don't -- I don't know if I             17 patients" -- comma -- "particularly their goals for
 18 would call SOC 8 a set of clinical guidelines, as                 18 their identity and expression."
 19 opposed to a -- other things that it also purports to             19     Q   Okay. Thank you for that clarification.
 20 be, including a summary of reviews of data and so on. 20 Now in that same paragraph 44, you also discuss Drs.
 21     Q    Would you characterize SOC 8 as standard of 21 Cantor and Laidlaw's conclusions about conflicts of
 22 care?                                                             22 interests that they say exist among WPATH committee
                                                           Page 155                                                             Page 157
  1     A   I would not.                                               1 members; correct?
  2     Q   Do you agree that clinical guidelines exist                2     A   I do refer to their -- their conclusion that
  3 for treating a variety of types of conditions in                   3 there were substantial financial conflicts of
  4 pediatrics?                                                        4 interest.
  5     A   Because I do not practice clinical                         5     Q   Okay. And did you do any independent
  6 pediatrics, I am not often reviewing clinical                      6 research on whether there existed financial conflicts
  7 guidelines for pediatrics. But to my knowledge, there              7 of interest among the committee members of WPATH?
  8 are clinical guidelines of various forms regarding                 8     A   No, as -- no, I did not. I took -- as I
  9 healthcare for children.                                           9 said, I think here explicitly, insofar as these
 10     Q   And is it your opinion that relying on                    10 descriptions, and by that I mean these descriptions by
 11 clinical guidelines, as you say, minimizes the                    11 Cantor and Laidlaw, insofar as they're accurate, then
 12 doctor's responsibility to exercise independent                   12 WPATH ignored significant conflicts of interest and
 13 judgment?                                                         13 violated accepted principles of medical ethics. I did
 14     A   Where -- can I ask where you're pointing to?              14 not seek to do my own research to find if -- if Cantor
 15     Q   Sure, we're going back to paragraph 44.                   15 and Laidlaw's conclusions were accurate.
 16     A   Actually, no, that -- that sentence which                 16     Q   Okay. And so it is your opinion that
 17 states, "My own review of SOC 8 indicates WPATH has               17 individuals who developed SOC 8 had direct financial
 18 problematically minimized the doctor's responsibility             18 conflicts of interest?
 19 to exercise independent judgment and fiduciary                    19     A   It is my opinion that if the descriptions by
 20 responsibility to guide patient care for minors," is              20 Cantor and Laidlaw are true, then yes, they did.
 21 my interpretation of their emphasis on this importance            21     Q   Is it your opinion that clinicians who
 22 of self-determination.                                            22 practice in a particular field should never be

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  1 involved in developing clinical guidelines for that             1 case that people writing the standards have been
  2 field?                                                          2 taking into account how what they vote might bear on
  3     A     No, that is not my opinion.                           3 whether physicians were reimbursed for medicalized
  4     Q     In this instance, why would the                       4 gender transition, that is a very problematic conflict
  5 participation among experts in developing these                 5 of interest.
  6 guidelines be a conflict of interest?                           6     Q   Just to clarify, when you talk about
  7     A     A conflict of interest exists where the               7 reimbursement, are you talking about reimbursement for
  8 persons who are being looked to, to render what is              8 providing care?
  9 expected to be an impartial judgment about, in this             9     A   I'm talking about insurance reimbursement
 10 case a medical intervention, stand to benefit                  10 for medicalized gender transition.
 11 financially if people take their description to                11     Q   Okay. So any physician who receives
 12 be -- to be accurate or authoritative.                         12 insurance reimbursement for providing medical
 13          And so that you can have conflicts of                 13 transition should not be involved in the development
 14 interest that -- that do not disqualify someone from           14 of the standards?
 15 serving as an expert. In fact, sometimes you cannot            15           MR. BROOKS: Objection.
 16 really get adequate expertise without involving some 16               A   That's not what I said. In fact, that
 17 people who have some conflicts of interest.                    17 directly contradicts what I said. It could be helpful
 18          But it's important, when there is a conflict          18 to include them, particularly if they are the ones
 19 of interest, to note it, be candid and forthcoming             19 that have certain kinds of expertise that don't --
 20 about it, and to take measures to -- to manage or              20 others don't have. But that they have a conflict,
 21 compensate for that, for example by having people              21 such conflict of interest needs to be disclosed and
 22 involved who do not have that conflict of interest and 22 there needs to be a plan for how to manage that, to
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  1 subjecting the -- the judgments of those who do to              1 ensure the public, who of course can't know what's
  2 review by those who don't. And so -- and there are              2 going on behind doors, that the conclusions are not
  3 other methods to manage conflicts of interest.                  3 motivated by pecuniary interests of those writing the
  4     Q     Okay. And is it your opinion that those               4 guidelines.
  5 things that you say should be done where there are              5     Q   Thank you, Doctor.
  6 conflicts of interest or potential conflicts of                 6     A   But -- but are -- but are motivated by a
  7 interest were not done here by WPATH?                           7 dispassionate assessment of the data.
  8     A     It's my opinion that if the descriptions by           8     Q   Turning now to paragraph 48 of your report.
  9 Cantor and Laidlaw are accurate, that they --                   9     A   I'm there.
 10 those -- those conflicts of interest were not handled          10     Q   In that paragraph, you refer to a report
 11 as they should have been.                                      11 that was published by Reuters. It was "an
 12     Q     In what way?                                         12 investigative report documenting both growing concerns
 13     A     Well, first, in that the conflict of                 13 among physicians about MGT, as well as intense
 14 interest was not mentioned in the report. That's a             14 backlash that clinicians, experts, and patients
 15 big deal in medicine. That's -- that's one. Second,            15 themselves have received when they voice such
 16 that outside experts and perspectives on the standard 16 concerns." That's how you describe that report;
 17 writing process who do not have conflicts of interest 17 correct?
 18 were not, if Cantor and Laidlaw's description is               18     A   That is what I wrote there, as I read it
 19 accurate, were not included. And at least -- yeah,             19 now.
 20 were not included. Those -- that's a second problem. 20               Q   Okay. You read that report; correct?
 21     Q     Are there any others?                                21     A   I did read that report, yes.
 22     A     There may be, but for example, if it's the           22     Q   Okay. And that report also refers to

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  1 threats of violence against providers of                          1 some transgender people quit treatment is key to
  2 gender-affirming care; correct?                                   2 improving it, especially for the rising number of
  3     A      I don't recall.                                        3 minors seeking to medically transition, experts say."
  4     Q      Okay. And the authors of that article were             4 Am I reading that right?
  5 not arguing that gender-affirming care should be                  5    A    Yes. So experts, some experts anyway, I
  6 criminalized; were they?                                          6 take it, are saying that it's important to understand
  7     A      I do not recall them arguing that.                     7 the reason some transgender people quit, in order to,
  8     Q      In fact, that article, the authors state               8 in their judgment, improve treatment.
  9 that understanding the reasons that some transgender              9    Q    So is it fair to say that this article was
 10 people quit treatment is key to improving it; correct? 10 not arguing that gender-affirming care should be made
 11     A      I don't have the article in front of me, but          11 unavailable?
 12 if you can show it to me I'm happy to read along next 12                      MR. BROOKS: Objection.
 13 to you.                                                          13    A    This is an investigative study by Reuters, a
 14     Q      Sure.                                                 14 special report. I don't recall that they were making
 15              MS. MURPHY: Andrew, can you pull up                 15 strong recommendations one way or the other on
 16 that article? We can go ahead and mark it as an                  16 medicalized gender transition. They were shining
 17 exhibit. It was not one that --                                  17 light on, as I said, growing concerns among physicians
 18              MR. BROOKS: Yes.                                    18 about the practice, and as well as some intense
 19              MS. MURPHY: Yeah, okay. And I believe 19 backlash that those who were starting to raise such
 20 that that would make it, I guess, Exhibit 8?                     20 questions and concerns were receiving when they voiced
 21              THE REPORTER: Correct.                              21 those concerns.
 22              MS. MURPHY: Okay.                                   22           MR. BROOKS: And let me just be clear
                                                          Page 163                                                              Page 165
  1             (Exhibit 8 was marked for                             1 on the record that what is in front of the witness so
  2             identification.)                                      2 far is simply the headline title of this article on a
  3             MR. BROOKS: Ruin your numbering.                      3 shared screen.
  4             THE REPORTER: And what is this exhibit                4            MS. MURPHY: Yeah, fair enough.
  5 going to be labeled as?                                           5 BY MS. MURPHY:
  6             MS. MURPHY: Well, we can label it                     6     Q    Okay. So moving on. All that fuss for just
  7 Reuters article.                                                  7 one question. Moving on to paragraph 49 of your
  8             THE REPORTER: Did you say writer's                    8 report, Dr. Curlin.
  9 article?                                                          9     A    Yes.
 10             MS. MURPHY: You know, I never know how               10     Q    And actually, paragraphs 49 and 50. You
 11 to pronounce this.                                               11 mention medical ethicists and practitioners who've
 12             THE WITNESS: I think you pronounced it               12 expressed their fear about speaking up about their
 13 correctly the first time.                                        13 concerns with gender-affirming care; is that right?
 14             MR. BROOKS: Reuters, R-E-U-T-E-R-S.                  14     A    Yes.
 15             THE REPORTER: Thank you.                             15     Q    And are you talking about specific
 16             MS. MURPHY: I'm originally from                      16 colleagues of yours in this instance?
 17 Pennsylvania, so sometimes people dispute my                     17     A    Yes, although I am not going to name those
 18 pronunciation of things. It's not uncommon.                      18 who talked about this in the context who understood it
 19 BY MS. MURPHY:                                                   19 to be confidential.
 20     Q      Okay. So looking at what we've now marked             20     Q    Understood. Did any of these colleagues say
 21 as Exhibit 8, and actually referring to that first               21 that any acts of violence were committed against them
 22 paragraph there, it says, "Understanding the reasons             22 for their views?

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  1     A    Not that I recall, no.                            1 BY MS. MURPHY:
  2     Q    And did any of them say that they've been         2     Q   Dr. Curlin, in paragraph 51, can you turn to
  3 threatened with acts of violence for their views?          3 that, please?
  4     A    Not that I recall, no. They were --               4     A   Did you say 51?
  5     Q    Did any of them --                                5     Q   I did.
  6     A    No, they just expressed concern that you          6     A   Okay, I'm there.
  7 can't bring this up; I'd lose my job. That sort of         7     Q   Now in that paragraph, you mention that you
  8 concern.                                                   8 were cancelled from giving a talk at Michigan State
  9     Q    And did any of them actually lose employment 9 University; correct?
 10 based on their views?                                     10     A   That's correct.
 11     A    To my knowledge, no, although the unifying 11           Q   And what was that talk supposed to be about?
 12 report among these meetings was that I was, I, Farr       12     A   To be about spirituality and medicine.
 13 Culin, was the only one who had actually spoken up 13            Q   But it was not about gender-affirming care
 14 publicly about these concerns. Meaning the only one 14 in any way; right?
 15 among those in these gatherings.                          15     A   No.
 16     Q    Sure. And what gatherings are you talking        16     Q   Okay. And who --
 17 about?                                                    17     A   But I was told by the organizers, when they
 18     A    The gathering at the Greenwall Faculty           18 cancelled the talk the very day of the talk as I was
 19 Scholars Program when we had a hot topic discussion,19 boarding the plane, we're cancelling this because
 20 bioethics dilemmas in the care of transgender minors. 20 students have said that you have been critical of --
 21 And the gathering of faculty of the Trent Center for      21 of gender transition, and they have said they -- they
 22 Bioethics, Humanities & History of Medicine here at 22 cannot be in a room with someone who's been critical.
                                                   Page 167                                                      Page 169
  1 Duke.                                                      1 Something to that effect.
  2     Q    Okay.                                             2     Q   And did the organizer -- well, let me ask
  3            MR. BROOKS: And, Counsel,                       3 you this. Who was the intended audience for this
  4 notwithstanding that we got back late from lunch,          4 talk?
  5 we're rolling up towards an hour and a half, and when 5          A   To my knowledge, the intended audience was
  6 it's convenient for you to take a break that'd be          6 the medical students of Michigan State University.
  7 great.                                                     7     Q   Okay. And the organizer who told you that
  8            MS. MURPHY: Sure. I was going to try            8 your talk had been cancelled, did she tell you in
  9 to make it another half an hour, but we can take a         9 specific what views the students were referring to?
 10 brief break now if that's --                              10 And by that I mean not a characterization of your
 11            MR. BROOKS: That'd be good.                    11 views, but where they were expressed. So were they
 12            MS. MURPHY: Okay, excellent. Let's do 12 referring to a particular article or another talk that
 13 that. Take your time. Ten minutes?                        13 you gave? Anything in specific?
 14            MR. BROOKS: Or less.                           14           MR. BROOKS: Objection.
 15            THE WITNESS: Less.                             15     A   As best I recall, it was that they had found
 16            MS. MURPHY: All right, thanks.                 16 the YouTube video of my talk earlier at the University
 17            THE REPORTER: All right. The time is           17 of Chicago in 2017.
 18 2:47 p.m. We are now off the record.                      18     Q   Okay. And then am I correct that you did
 19            (Off the record.)                              19 not get on a plane?
 20            THE REPORTER: The time is 2:54 p.m.            20     A   That's correct. I did not get on the plane.
 21 We are now back on the record.                            21     Q   And was the talk rescheduled?
 22            MS. MURPHY: Thank you.                         22     A   It -- not initially, but after some back and

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  1 forth rescheduled for later that spring. And then it               1 them. Expressing in public what they are thinking.
  2 was cancelled again, and it has been rescheduled for               2 Fear is preventing that from happening.
  3 June of this year.                                                 3     Q    Okay. And have you felt fear about
  4    Q    Okay. Why was it cancelled for the second                  4 expressing your views on gender-affirming care?
  5 time?                                                              5     A    I have, yes.
  6    A    I was told that the dean of the -- the                     6     Q    In what instance?
  7 acting dean of the medical school was concerned that               7     A    I -- I've had anxiety about writing essays
  8 there could be protests and so on that would distract              8 that I maybe should have written by now and -- and
  9 from graduation events.                                            9 attempted to publish, notwithstanding the difficulties
 10    Q    And was he specific about the type of                     10 of doing so because of this -- this -- this kind of
 11 protest that he was concerned about?                              11 ideological conformity and cancel culture of -- of
 12    A    Not that I recall. I just got the                         12 voicing concerns about the -- the practice and the way
 13 impression they were worried there would be some kind             13 it seems to contradict, in many cases as least,
 14 of kerfuffle by the students that would distract from             14 important guidelines that have -- ethical guidelines
 15 graduation.                                                       15 that have kept medicine from going too much astray.
 16    Q    Okay. And did he say that he thought that                 16     Q    And what is that fear about? What are you
 17 the protest would involve your views of                           17 afraid will happen if you write the essays or further
 18 gender-affirming care?                                            18 express your views on the subject?
 19    A    I don't remember what he said exactly, but                19     A    Well, I'm afraid that I will be subjected to
 20 it was clear that that was -- my understanding was                20 vitriolic email campaigns that students will organize
 21 that that was clearly the concern.                                21 to call for sanctioning of me in some fashion. That
 22    Q    Okay. And why is that the case?                           22 colleagues whom I respect, who really are just going
                                                           Page 171                                                            Page 173
  1     A    Because that's what the person who I was                  1 on about their lives and working on important topics
  2 speaking with, who was not the dean but the chair of               2 not relating to this, will all of a sudden find their
  3 the department of family medicine, was what she                    3 association with me to be a -- a mark against them
  4 relayed to me.                                                     4 in -- in many corners.
  5     Q    Okay. And you said that that has been                     5         That it'll be difficult to find assistants
  6 rescheduled a second time?                                         6 to work for me, because if they work for me early in
  7     A    That's correct.                                           7 their career they might be marked as somehow not on
  8     Q    Okay. And that date hasn't come to pass                   8 the right side of this issue, and therefore will find
  9 yet?                                                               9 their job prospects diminished. That kind of -- those
 10     A    That's correct.                                          10 kinds of consequences.
 11     Q    Okay. Referring back to that same                        11     Q    When you say "students," are you talking
 12 paragraph, at the end it says, "All of this makes                 12 about the students at Duke?
 13 evident that fear is muzzling open expression of                  13     A    I'm talking about students at Duke, but --
 14 widespread and growing dissent within the medical                 14 but elsewhere also. I mean, I was at the University
 15 community regarding MGT." Correct?                                15 of Chicago, and without naming names, I spoke with
 16     A    That's what I wrote, yes.                                16 people in training who have appreciated my work and
 17     Q    What do you mean by "muzzling"?                          17 expressed that they would be absolutely terrified to
 18     A    By muzzling I mean it is -- a muzzle is                  18 speak up about their concerns about this in medical
 19 something that pins the mouth closed on a dog, so it's 19 training, because if it was known they might not be
 20 a metaphor for the way that fear is keeping people                20 able to match at prestigious programs.
 21 from opening their mouths and speaking what they                  21         So that -- that -- that is the -- the level
 22 understand or raising concerns that have occurred to 22 of concern, which accords with, of course, the reports

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  1 from Hilary Cass and Dr. Kaltiala and the Reuters                1     Q    And what about a physician who is aware of
  2 report. It accords with those expressed in the closed            2 the research on gender-affirming care but doesn't
  3 doors of the Greenwall Foundation. People are                    3 treat adolescents?
  4 concerned that they would be isolated, and effectively 4               A    What about them?
  5 the good work that they're up to -- as happened in my 5                Q    Would they be included in this discussion of
  6 case with the Michigan State talk, will be rendered              6 what's reasonable?
  7 something that can't be taken seriously because of               7     A    Yes, I think they would, so long as they
  8 this association with an issue that's so -- so                   8 have the expertise sufficient to understand the kind
  9 carefully surveilled by those who are -- don't want              9 of research that's been done, the outcomes that have
 10 objections to be raised.                                        10 been assessed, the character of the intervention, and
 11     Q    And are you aware that there have been                 11 the evidence that's available, yes.
 12 threats of violence against providers of                        12     Q    Okay. What about doctors who are trained to
 13 gender-affirming care?                                          13 make that type of diagnosis but are philosophically
 14     A    I -- I don't remember where I heard that,              14 opposed to providing that type of treatment? Should
 15 but I'm aware that that has been reported.                      15 they be included in the discussion of what's
 16     Q    Did you have any --                                    16 reasonable?
 17     A    I just want to say, and I obviously would              17     A    Well, here we're talking about specifically
 18 condemn such threats of violence.                               18 the question of clinical equipoise. And so whether
 19     Q    Sure. Did you have any reservations about              19 one is philosophically opposed or not, or
 20 providing testimony in this case?                               20 philosophically disposed to this intervention, the key
 21     A    I did, yes.                                            21 question is whether one has the capacity to consider a
 22     Q    Turning now to paragraph 52.                           22 reasonable -- to a reasonable extent, the data that's
                                                         Page 175                                                           Page 177
  1     A   I'm there.                                               1 available regarding purported benefits and purported
  2     Q   Okay. And here you talk about Beauchamp and              2 harms of any intervention including this one, and come
  3 Childress' description of clinical equipoise; correct?           3 to a -- a judgment as to whether there is uncertainty
  4     A   Yes.                                                     4 about -- reasonable uncertainty about which -- whether
  5     Q   And that definition refers to ta community               5 the treatment is superior or inferior to other --
  6 of reasonable physicians; right?                                 6 the -- the standard of care that does not include that
  7     A   That's right.                                            7 intervention.
  8     Q   How would you define a community of                      8    Q    Okay, turning to paragraph 54.
  9 reasonable physicians in the case of gender-affirming            9    A    I'm there.
 10 care?                                                           10    Q    Okay. Now this one you say, "As the above
 11     A   This would include those physicians,                    11 summaries make clear, the community of reasonable
 12 otherwise reasonable, who have taken the time to                12 clinicians, as well as the international community of
 13 consider the evidence of benefits and arms of                   13 relevant experts, is at best genuinely uncertain about
 14 medicalized gender transition and had a chance to, in           14 whether MGT is to be preferred to standard" --
 15 light of that, make a judgment about whether                    15 physiotherapeutic -- "treatment without MGT."
 16 medicalized gender transition -- whether we reasonable          16 Correct?
 17 are uncertain as to whether the intervention itself is          17            MR. BROOKS: Objection. You said
 18 better or worse than available treatments that do not           18 physiotherapeutic when I think the term is
 19 include that intervention.                                      19 psychotherapeutic, and in this case maybe the
 20     Q   So would that include physicians who                    20 difference matters.
 21 prescribe those types of treatments currently?                  21            MS. MURPHY: Absolutely. Thank you for
 22     A   It -- it certainly does not exclude them.               22 making that correction.

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  1 BY MS. MURPHY:                                                     1 and Duke, where -- as well as many conferences on
  2     Q     Same question, substituting the word                     2 research ethics in which it has been apparent and
  3 psychotherapeutic for the word that I used,                        3 obvious that IRBs don't take clinicians' judgment for
  4 physiotherapeutic.                                                 4 granted, they want to see the evidence that justifies
  5     A     That is what I write there, yes.                         5 that judgment, because of course often the physicians
  6     Q     Okay. Now you've conducted empirical                     6 or investigators studying some intervention are the
  7 research on physicians' attitudes and practices                    7 most enthusiastic about the -- you know, what they
  8 regarding controversial practices; correct?                        8 hope for from that intervention.
  9     A     I have, yes.                                             9    Q    Okay. So is it fair to say that an IRB will
 10     Q     And you consider administering                          10 make an independent assessment of whether or not there
 11 gender-affirming care to be controversial; correct?               11 is clinical equipoise?
 12     A     I do, yes.                                              12    A    It is certain that they should, and in my
 13     Q     And so to support your opinion in paragraph 13 experience they do.
 14 54, did you conduct any empirical research on                     14           MS. MURPHY: Okay. Now it is
 15 physicians' attitudes and practices regarding                     15 approximately 3:15, and I would appreciate taking a
 16 gender-affirming care?                                            16 short break and going off the record for just
 17     A     I did not. It was unnecessary to do so, but             17 approximately 15 minutes.
 18 I did not.                                                        18           THE WITNESS: Sure. Come back at 3:30?
 19     Q     And what do you mean that it was                        19 That sound right?
 20 unnecessary?                                                      20           MS. MURPHY: 3:30 sounds good. Thank
 21     A     So I already know and am in dialogue with               21 you.
 22 the community of reasonable clinicians, or at least               22           THE REPORTER: The time is 3:14 p.m.
                                                           Page 179                                                            Page 181
  1 reasonable representatives of that community, enough               1 We are now off the record.
  2 to know that it is, at best, genuinely uncertain about             2            (Off the record.)
  3 whether MGT is to be preferred to standard                         3            THE REPORTER: The time is 3:30 p.m.
  4 psychotherapeutic treatment without MGT, particularly              4 We are now back on the record.
  5 for minors.                                                        5 BY MS. MURPHY:
  6         And I know from the reports of Cantor and                  6     Q    Okay. Dr. Curlin, if you can turn to page
  7 Laidlaw, as well as the reports of -- from England and             7 15 of your report, if you're not there already.
  8 Sweden and Finland and elsewhere of these expert                   8     A    I'm there.
  9 bodies that it is, at best, genuinely uncertain                    9     Q    Okay. And on page 15 you state that, "An
 10 whether MGT is to be preferred to standard                        10 institutional review board that approved the expanded
 11 psychotherapeutic treatment without MGT. So it                    11 clinical trial apparently advocated by the FDA would
 12 wouldn't -- there was no need to try to do a survey to            12 likely be violating its ethical obligations."
 13 understand the answer to that question.                           13 Correct?
 14    Q     Okay. In paragraph 55, you say there that                14     A    That's what I wrote, yes.
 15 "IRBs do not defer to clinicians' judgment about                  15     Q    Okay. And what clinical trial are you
 16 equipoise." Correct?                                              16 referred to here?
 17    A     I do, yes.                                               17     A    I am referring to a proposed clinical trial
 18    Q     What's the basis for that opinion?                       18 about which the FDA wrote a letter in response to the
 19    A     The basis for that is my training regarding              19 investigator's questions and which is listed as
 20 IRBs, my experience submitting proposals to IRBs, and             20 production documents HHS01699732-0619991.
 21 having arguments with IRBs, and my experience as part             21     Q    Okay. And can you describe the documents
 22 of the faculty of ethics at the University of Chicago             22 within that production that you reviewed?

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  1              MR. BROOKS: And, Counsel, I have been 1 have succeeded in declining the invitation to this
  2 told, and I can check this myself, but one of my                  2 point.
  3 colleagues going to get this document recently said               3     Q     And are there any other documents that you
  4 there's a typo in the Bates range. Let me read into               4 relied on for your conclusion that the FDA was
  5 the record the Bates range of the document to make                5 considering expanding the clinical trial?
  6 sure there is no unclarity on that.                               6     A     No. Except that there was an initial news
  7              That is HHS-0169973 through 991.                     7 report that suggested an interpretation of this
  8              MS. MURPHY: Okay.                                    8 document, but I -- my opinion is based on the document
  9              THE WITNESS: Could you repeat your                   9 itself.
 10 question?                                                        10     Q     Okay. Turning now to paragraph 67 of your
 11 BY MS. MURPHY:                                                   11 report.
 12     Q    Sure. Can you describe the documents that               12     A     I'm there.
 13 you reviewed that fall within that now narrowed                  13     Q     Okay. Here you note that animal study is
 14 document production?                                             14 relevant to the safety of gender-affirming care -- now
 15     A    I can in general terms. I would have to                 15 I'm paraphrasing -- that can be done have not been
 16 look at it to -- to recall the details. But it was a             16 done. Is that a fair representation of what you
 17 response by the FDA, or at least some branch of the              17 assert?
 18 FDA, to inquiries made by investigators regarding a 18                  A     That's -- the evidence that I've seen so far
 19 proposed clinical research plan that involved using              19 suggests they have not been done. And the -- the
 20 estrogen as a cross-sex hormone as a part of                     20 plaintiffs have not indicated that they have been
 21 medicalized gender transition. And they had put a few21 done.
 22 questions to the FDA and asked for preliminary                   22     Q     Are you aware that two groups of researchers
                                                          Page 183                                                               Page 185
  1 guidance on those, and the FDA was responding to those            1 have developed mouse models to examine
  2 questions.                                                        2 gender-affirming medical care?
  3     Q   Okay. Just to clarify, you read a document                3     A     I am not aware of that.
  4 that was drafted by the FDA?                                      4     Q     So you're not aware that both of those
  5     A   That was my understanding from the document.              5 studies showed that female mice are capable of
  6     Q   Okay. And after reviewing that document, is               6 fertility following treatment with puberty blockers
  7 it still your belief that the FDA was advocating for              7 and testosterone?
  8 the expansion of the proposed clinical trial?                     8             MR. BROOKS: Objection, assumes facts
  9     A   It -- it was -- I use the term apparently                 9 not in evidence.
 10 advocated, because it was not crystal clear what the             10     A     I -- I -- I don't recall reading these
 11 FDA was ultimately suggesting. But insofar as it                 11 studies at all, so I can't comment further about them
 12 appeared to -- the FDA's response appeared to suggest            12 unless you want me to look at them.
 13 that the FDA would see as appropriate, not including             13             MS. MURPHY: Sure. So why don't we
 14 an active control arm in testing estrogen for                    14 mark as Exhibit 9, the study that we -- I think we
 15 adolescents. It seemed to me that that was -- would              15 have this as the document descriptor, "In Vitro
 16 be violating ethical obligations, for the reasons laid           16 Fertilization Outcomes in a Mouse Model of
 17 out in my report.                                                17 Gender-Affirming Hormone Therapy in Transmasculine
 18     Q   Got it. And you've never participated in an              18 Youth."
 19 IRB considering an expanded clinical trial such as the           19             (Exhibit 9 was marked for
 20 one proposed in that instance; correct?                          20             identification.)
 21     A   I have never served on an IRB, as I said at              21             THE WITNESS: You already sent that one
 22 the outset. I have been invited to, but thankfully               22 in the email?

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  1             MS. MURPHY: We did.                                    1     A     That's right.
  2             THE WITNESS: Okay, one moment. The                     2     Q     And are you aware that there's a lack of
  3 first author is Cynthia Dela Cruz?                                 3 randomized controlled studies in many areas of
  4             MS. MURPHY: Let me be sure of that.                    4 pediatrics?
  5 Yes, that's the one I'm referring to. I'd like to                  5     A     I am aware of that, yes.
  6 mark that one as Exhibit 9.                                        6     Q     And for instance, are you aware that there
  7 BY MS. MURPHY:                                                     7 have been no randomized controlled studies regarding
  8     Q    Dr. Curlin, have you seen this study prior                8 when a child can return to sports after a spinal cord
  9 to today?                                                          9 injury?
 10     A    Not -- not to the best of my recollection.               10     A     I -- I was not aware of that, but I don't
 11     Q    Okay. So it's fair to say that you didn't                11 know anything to contradict that.
 12 consider this when drafting your report?                          12     Q     So assuming that that's true, is it your
 13     A    Except insofar as this was reviewed by Drs.              13 opinion that parents cannot make an informed choice
 14 Cantor and Laidlaw, I did not. If -- if they reviewed             14 regarding when their child can return to sports after
 15 it, then I read their review and considered that                  15 a spinal cord injury?
 16 summary, but I otherwise did not review this.                     16     A     No, that is not my opinion.
 17             MS. MURPHY: Okay. And then I'd like                   17     Q     In what instance can parents make an
 18 to turn now to an exhibit that I'd like to mark as                18 informed choice on their children's care when there
 19 Exhibit 10, and this one, the title of the study is,              19 have not been randomized controlled studies?
 20 "Puberty Suppression Followed by Testosterone Therapy             20     A     Each -- each particular kind of intervention
 21 Does Not Impair Reproductive Potential in Female                  21 in each particular clinical scenario has to be
 22 Mice."                                                            22 considered. And so for example, it may well be that
                                                           Page 187                                                              Page 189
  1              (Exhibit 10 was marked for                            1 there have not been randomized controlled trials of
  2              identification.)                                      2 whether we should set broken bones that are --
  3 BY MS. MURPHY:                                                     3 comminuted fractures, let's just say. And that does
  4      Q    Just let me know if you've located it.                   4 not mean that we don't have sufficient knowledge of --
  5      A    I've located it. I, of course, can only                  5 of bones, how they heal, and -- and what can be
  6 read the title at this point. I mean, I could read                 6 expected from setting the bone and what the
  7 more if you give me time to, but I've -- I've only                 7 implications would be of not setting it in order to
  8 read the title at this point.                                      8 know enough to give consent to having the bone set, in
  9      Q    Okay. So you've never reviewed this study                9 my judgment.
 10 prior to today; correct?                                          10         The challenge with medicalized gender
 11      A    I have not reviewed it directly, and my only            11 transition, as with any kind of, as the Belmont Report
 12 knowledge of it would be if it was reviewed by Drs. 12 puts it -- I think it's the Belmont Report or
 13 Cantor and/or Dr. Laidlaw.                                        13 Beauchamp and Childress, a kind of radical, new
 14      Q    Okay. You can set that aside at this point              14 procedure is that it -- it is different in many
 15 if you'd like. Moving on to paragraph 71 of your                  15 respects from the ordinary situations in which parents
 16 report.                                                           16 are asked to give consent.
 17      A    I'm there.                                              17     Q    How so? How is it different?
 18      Q    Okay. And here you say that, "The absence               18     A    Well, it's different insofar as we're asking
 19 of well-designed and controlled studies makes it                  19 parental consent and patient assent to something which
 20 impossible to give minors and their parents                       20 the patients in this case cannot reasonably imagine or
 21 information sufficient to consider their consent duly 21 understand, by virtue of specifically the fact that
 22 informed." Correct?                                               22 they've not gone through puberty, and that the

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  1 intervention is going to block features of human life             1         So those are just -- those are some of the
  2 that are dependent on going through puberty.                      2 problems that make this practice particularly
  3        So unlike most conditions, in this case the                3 ethically problematic, and which raise the bar for
  4 intervention itself blocks the development of the                 4 or -- or put greater onus on those who would -- who
  5 cognitive and emotional maturation which makes someone            5 would offer this treatment to -- to have a reasonable
  6 capable of giving their own consent when they're an               6 basis for coming to the conclusion that this
  7 adult, for example.                                               7 intervention will bring about benefits that are at
  8        Second one is that in most cases we have                   8 least proportionate to the foreseen harms.
  9 good reason to believe that the information, or at                9         And since, as is this case, they have not
 10 least absent countervailing evidence, we have -- we              10 shown that the hoped-for benefits, namely benefits
 11 can expect that the information given by the                     11 with respect to mental health, are achieved. And we
 12 practitioners is -- has a reasonable basis. Whereas              12 do know with great certainty that the intervention
 13 by their own concession and description, the                     13 brings a whole host of adverse side effects. I don't
 14 plaintiffs in this case and those promoting                      14 believe they've met -- they've met the requirement
 15 gender -- medicalized gender transition, are not                 15 of -- of -- of getting -- of there being -- being able
 16 acknowledging to family members what all of these                16 to give children information and their parents
 17 experts who disagree with them, like those in -- in              17 information sufficient to -- to -- to give duly
 18 multiple other countries, have the conclusions they've           18 informed consent.
 19 come to with respect to the evidence.                            19     Q    To clarify one of things that you said, what
 20        So that in itself gives an unusual situation              20 is the basis for your opinion that parents are not
 21 in which we now, based on their own testimony, their             21 informed of any research where you may assert that the
 22 own writing, we now have reason to believe that                  22 research concluded that there were no benefits or that
                                                          Page 191                                                               Page 193
  1 patients and their parents will not receive a true                1 gender-affirming care was harmful?
  2 accounting of the state of the evidence with respect              2     A     So the -- the -- as I understand them, the
  3 to this intervention from those who offer this                    3 plaintiffs themselves and those whom they're referring
  4 intervention.                                                     4 to in the publications like that of Rhafferty and
  5         Third, in this case, unlike most cases where              5 others, say explicitly these interventions are safe
  6 parents are giving consent, the intervention itself               6 and they're beneficial.
  7 contradicts the -- the norms of health that guide                 7         And that seems to me, on the basis of the
  8 physicians' actions and fiduciary responsibilities in             8 state of the evidence, if Cantor and Laidlaw's reports
  9 other cases.                                                      9 are accurate, is not a true description of -- of these
 10         So if a doctor was saying what we're going               10 interventions. They cannot reasonably be described as
 11 to do is we're going to break your child's leg out of            11 safe without a lot of other qualification and
 12 an experiment we have, an idea that's going to help              12 description. The kinds of adverse side effects they
 13 them all on the whole better in some way, then we'd 13 have. And they cannot be described as beneficial, it
 14 want -- we'd have a much higher bar for requiring                14 seems to me, with respect to outcomes that are -- the
 15 that -- that practitioner to show that breaking the              15 hoped-for outcomes, yet anyway.
 16 leg was going to have the hoped-for benefit and was 16                  Q     And what is the basis for your belief that
 17 going to not impose disproportionate harms.                      17 parents are not given information about the health
 18         I think that's something parallel here,                  18 risks of gender-affirming care?
 19 insofar as what the intervention does is contradict              19     A     I'm not testifying that they're not given
 20 the healthy sexual development -- or the healthy                 20 any information about health risks. I'm just saying
 21 development of secondary sex characteristics for a               21 that it seems to me, from what the plaintiffs
 22 child of that sex.                                               22 themselves have said, that they represent to patients

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  1 and their families that this is a safe intervention             1 are unable to make that assessment?
  2 and that it is likely to benefit. And they couldn't             2     A    What assessment?
  3 do it in good conscious and ethically if they did               3     Q    An assessment of the emotional capacity --
  4 not -- if they weren't persuaded that was the case.             4 emotional maturity and cognitive maturity of an
  5         But the -- the state of the evidence, if                5 adolescent who is deciding on treatment with respect
  6 described accurately by Cantor and Laidlaw, suggests 6 to gender-affirming care.
  7 that they are mistaken in their -- in their                     7     A    It's my opinion that the plaintiffs have not
  8 conclusions regarding the state of the evidence. And            8 shown good reason to be confident that minors can have
  9 that is the conclusion, of course, that multiple                9 such maturity. Sufficient maturity to -- to
 10 international bodies of experts have come to. That in 10 comprehend medicalized gender transition.
 11 fact it's not safe, or not safe enough to justify              11     Q    And have you conducted any research on
 12 doing it except perhaps in certain conditions of               12 obtaining informed consent from parents regarding
 13 research.                                                      13 treatment of minors?
 14     Q    Okay. Moving to page 18. On page 18 you               14     A    Empirical research?
 15 state it's not been shown that minors are able to              15     Q    Any type of research.
 16 comprehend and reasonably evaluate the risks and               16     A    Sure, I've -- I've conducted research, for
 17 lifelong implications of MGT. Correct?                         17 example for this report, regarding what -- what are
 18     A    I do, yes.                                            18 the characteristic standards within the -- the field
 19     Q    Is it your opinion that a minor can never             19 of pediatrics regarding informed consent for minors.
 20 assent to gender-affirming medical care?                       20     Q    Apart from that, have you done any research
 21     A    It's not my opinion about any particular              21 in that area?
 22 case. It is my opinion that the plaintiffs have not            22     A    I've not conducted empirical research in
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  1 shown that -- based on what they've shown, based on             1 that area. I have, over the years, conducted research
  2 the evidence available, it is doubtful that a minor             2 within the fields of medical ethics, writing on
  3 can have sufficient understanding and intellectual              3 informed consent, which included -- included
  4 maturity to give informed assent to this particular             4 scholarship regarding consent for minors.
  5 practice.                                                       5     Q    Is that something that's listed in your CV?
  6     Q    Under what conditions could a minor assent             6     A    No. By research here I mean I have studied
  7 to gender-affirming care? What is necessary for that            7 it, I have looked up authorities, I've read books,
  8 to be possible?                                                 8 I've gone to lectures, and talked to colleagues, and
  9             MR. BROOKS: Objection, calls for                    9 so on.
 10 speculation.                                                   10     Q    Got it. I should have been more clear. So
 11     A    Yeah. I'm not sure that it is possible.               11 have you drafted any peer-reviewed studies in this
 12 I'm not sure that it is possible.                              12 area?
 13     Q    Have you read the SOC 8's criteria for how            13     A    I have not written any peer-reviewed papers
 14 providers obtain assent and consent from parents?              14 on informed consent among children, to my
 15     A    I read the SOC 8 guidelines. I don't recall           15 knowledge -- to my recollection.
 16 the details about that particular issue.                       16     Q    Turning to paragraph 84. Just let me know
 17     Q    Are you aware that the guidelines state that          17 when you're there.
 18 it's important for healthcare providers to assess the          18     A    I'm there.
 19 cognitive and emotional maturity of adolescents?               19     Q    And here you're referring to the SOC 8 when
 20     A    That sounds familiar. I -- I believe I                20 you say, "The new guidelines also emphasize a right to
 21 mentioned that in my report somewhere.                         21 bodily and mental integrity, autonomy, and
 22     Q    Is it your opinion that healthcare providers          22 self-determination." Is that right?

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  1     A    That's right.                                         1 authority to make clinical decisions for themselves,
  2     Q    And we talked a bit about this earlier, but           2 except in -- in certain situations. But generally
  3 I just have a couple additional questions on it. How           3 speaking, they do not have authority. And that means
  4 would you define autonomy in medicine?                         4 respect for their autonomy does not require -- or does
  5     A    So I have a chapter on this in my book.               5 not imply that you treat them as having authority to
  6 Autonomy is a term that's been used in a number of             6 tell you what should be done and should not be done
  7 different ways. And the word autonomy means                    7 for them medically.
  8 self-rule. Autonomous is rule by the self. That was            8     Q     Okay. So in your opinion, what role should,
  9 particularly popularized by Immanuel Kant, to refer to 9 if any, an adolescent or child's view play in making a
 10 the -- the person who is genuinely reasonable, is a           10 medical decision?
 11 person who is a law to themselves. They act only              11     A     It depends very much on the situation, on
 12 insofar as they believe morality require -- ethics            12 the medical decision that's at stake, on how grave the
 13 requires them to act.                                         13 threat to health is that the child faces, on how
 14         Autonomy has come to be used in modern times14 likely it is that medicine holds some intervention
 15 because of the influence of what we describe as the           15 that can resolve that threat. And -- and what it is
 16 provider of services model. Often, it's come to be            16 in fact that the patient -- that the child wants.
 17 understood as emphasizing a person's right to have -- 17                 So insofar as possible, pediatricians can
 18 to live life according to their own terms. Not so             18 and do, and family doctors, those who take care of
 19 much -- whereas the original understanding was to be 19 children, can and do seek to respectfully interact
 20 autonomous is to follow the moral law, now in many 20 with a child so that they gain their assent to what is
 21 corners people use the term to mean you follow your 21 medically necessary.
 22 own -- your own desires.                                      22         But it -- they don't -- there's no medically
                                                       Page 199                                                            Page 201
  1         So to my -- to my -- in my view, my                    1 necessary intervention that I can think of for which
  2 judgment, autonomy rightly understood is a word --             2 physicians proceed by asking the child what do you
  3 within medicine, is a word that's used to indicate a           3 want. Rather, they would say this is what we need to
  4 person's authority to make judgments about what is             4 do and here's why, and how can we negotiate a way
  5 going to happen to them.                                       5 forward that involves your assent and cooperation.
  6         And that's particularly expressed in the               6     Q    Now in that same paragraph, paragraph 84.
  7 principal of informed consent, where respect for               7 You also state that "The language in SOC 8 ignores the
  8 autonomy requires only acting on a patient insofar as          8 potential conflict between the needs of the patient
  9 one has their consent, their -- their informed                 9 and their goals." Correct?
 10 consent. So that's how I would describe autonomy.             10     A    I do, yes.
 11     Q    And to clarify the testimony that you gave           11     Q    Can you elaborate a bit on that? Tell me
 12 earlier, is it your belief that children do not have          12 what you mean?
 13 the right to autonomy or that it is impossible for            13     A    What I mean is just that the physician's
 14 them to have autonomy with respect to medical                 14 proper concern, particularly with respect to children,
 15 decisions?                                                    15 is the medical needs of the patient. The
 16     A    So the way you phrased that question shows           16 health-related needs, not the child's goals. And the
 17 the confusion in the way the term is used. Autonomy 17 needs have preeminence and priority.
 18 is not something -- properly understood, it's not             18         Ideally, one can pursue addressing the
 19 something you talk about as something to which you 19 child's health needs and medical needs in a way that
 20 have a right. It is an ethical value which calls for          20 doesn't contradict the child's goals, but the goals
 21 respect from others.                                          21 are not the point for physicians.
 22         It is my testimony that children do not have          22     Q    Okay. Turning now to paragraph 94.

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  1     A    I'm there.                                              1 referring to the studies that are cited in your report
  2     Q    And actually, if you wouldn't mind, just                2 and the ones that were summarized by Drs. Cantor and
  3 taking a brief look. What I'm referring to is                    3 Laidlaw?
  4 actually paragraphs 94 through 96.                               4     A    Well, here what I mean is puberty blocking
  5     A    Okay. Give me a second. Okay, I'm ready.                5 drugs have no indication for mental health. They have
  6     Q    I want to focus on the portion of your                  6 no physiological rationale. They are not directed
  7 opinion that refers to eminent bodily harm. And in               7 directly at mental health. They're not directed at
  8 your medical practice, do you draw a distinction                 8 dysphoria. No one who has dysphoria generally takes
  9 between mental and physical health?                              9 puberty blockers to treat their dysphoria, and lots of
 10     A    I -- I -- I do, insofar as that's helpful              10 people have dysphoria of all different kinds.
 11 for clarifying what a person is -- what kind of                 11         So the point here is that they don't treat
 12 diminishment or defect or injury to a person's health 12 dysphoria directly; they treat the body to change its
 13 they're experiencing, yes.                                      13 characteristics, in hopes that that will result in
 14     Q    Would you agree that individuals routinely             14 improvements in dysphoria. That's not the way
 15 accept risks to their physical health in order to               15 psychoactive medications characteristically are used.
 16 improve their mental health?                                    16     Q    Understood. Turning to paragraph 97 of your
 17     A    I don't -- I -- I would want to know more              17 report. Here you state that "Plaintiffs' experts do
 18 about what you have in mind before agreeing or                  18 not remotely establish that the necessary conditions
 19 disagreeing with that.                                          19 justifying such procedures exist in the case of GD and
 20     Q    So for instance, certain mental health                 20 MGT, especially for minors." Correct?
 21 medications come with risks to physical health; would21                A    That's correct.
 22 you agree?                                                      22     Q    And which experts are you specifically
                                                         Page 203                                                             Page 205
  1     A    Yes, I agree with that.                                 1 referring to?
  2     Q    But there are certain instances where                   2    A    I'm referring to all of them together. None
  3 individuals are experiencing mental distress and it's            3 of them has established this, either individually or
  4 determined that a medical for their mental health is             4 as a group.
  5 worth the risks to their physical health; correct?               5    Q    Okay. And which of Plaintiffs' experts
  6     A    Yes, that's correct.                                    6 reports have you reviewed?
  7     Q    So it's not your assertion that medication              7    A    I read the report of -- I read the second
  8 should never be prescribed when there's risks to                 8 amended complaint, and I read the report of Meredithe
  9 physical health; correct?                                        9 McNamara, and I --
 10     A    No, of course not. You could -- you could              10           THE REPORTER: Sorry, could you repeat
 11 hardly prescribe anything if that were the standard.            11 that? You cut out for a second.
 12 What's so strikingly different about medicalized                12           THE WITNESS: So I first read the
 13 gender transition is that it does not address the               13 second amended complaint, and then I read the report
 14 mental health issue. Rather, it turns its attention             14 of Meredithe McNamara, dated February 8, 2023. I also
 15 to manipulating the body in ways that contradict                15 read the report of Armand Antomaria, dated February
 16 health, in hopes that that will have a side effect of           16 13, 2023. And I read one other report. Those are the
 17 or an effect of improving mental health outcomes. So 17 only two, apparently, I wrote down, so -- and I don't
 18 it -- it acts actually here as well, directly in                18 recall another.
 19 contradiction to the ordinary way that mental health            19 BY MS. MURPHY:
 20 is treated.                                                     20    Q    Okay. So is your opinion on what
 21     Q    And when you say that it has been shown that 21 Plaintiffs' experts have or have not established based
 22 there are no improvements to mental health, you're              22 on only those either two or three reports that you

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  1 reviewed?                                                        1 conclusions that you made in this case?
  2     A    It is based on the reports that I reviewed,             2             MR. BROOKS: Objection.
  3 yes.                                                             3     A     I have -- yes, I believe I have.
  4     Q    One clarifying question before we move on.              4     Q     Are there any portions of your report that
  5     A    Oh, actually, hang on. I also reviewed                  5 you would like to amend or retract at this moment in
  6 the -- wait, I may be confusing this case with                   6 time?
  7 another. I think I am. So that --                                7     A     No, there -- there are not any portions I
  8     Q    Okay. Going back to, this is something we               8 would like to amend or retract.
  9 talked about this morning, the Hippocratic Society.              9             MS. MURPHY: Okay. Dr. Curlin, I want
 10 Can you tell me when you founded the Hippocratic                10 to thank you for your time today. That concludes my
 11 Society?                                                        11 portion of the questioning. I'm not sure if anyone
 12     A    To the best of my recollection, it was in              12 else has any questions for Dr. Curlin, but I'm
 13 summer of 2023.                                                 13 finished.
 14     Q    And is the founding of the Hippocratic                 14             MR. BROOKS: Anybody else from the
 15 Society in any way motivated by the work that you've 15 plaintiffs' side?
 16 done with respect to gender-affirming care?                     16             MS. WILLIAMS: No questions on my end.
 17     A    No, not self-consciously anyway.                       17 Thank you.
 18            MS. MURPHY: I am nearly finished. And 18                            MR. BROOKS: And I have no questions
 19 so what I'd like to do is just take a couple minutes            19 for the witness.
 20 off the record to review my notes. So why don't we              20             THE REPORTER: All right. Before we go
 21 say five minutes?                                               21 off the record, I'd just like to go over transcript
 22            MR. BROOKS: That's fine.                             22 orders.
                                                         Page 207                                                       Page 209
  1           THE REPORTER: The time is 4:14 p.m.                    1             MS. MURPHY: Sure.
  2 We are now off the record.                                       2             MR. BROOKS: On behalf of the defense,
  3           (Off the record.)                                      3 I believe that the State of Alabama has a standing
  4           THE REPORTER: The time is 4:21 p.m.                    4 order through Veritext, and I don't propose to modify
  5 We are now back on the record.                                   5 that.
  6           MS. MURPHY: Thank you.                                 6             THE REPORTER: Do you have any
  7 BY MS. MURPHY:                                                   7 preference on delivery method?
  8    Q    Dr. Curlin, I just have some concluding                  8             MR. BROOKS: Like I say, I don't
  9 questions. If you were called to testify in this                 9 actually know the details of the standing order, and I
 10 case, does Exhibit 2, which we marked as your report,           10 don't propose to modify it.
 11 represent your complete opinion that you were asked to          11             THE REPORTER: Okay. And then, Amie,
 12 provide in this case?                                           12 would you like to order a copy of the transcript?
 13           MR. BROOKS: Objection.                                13             MS. MURPHY: So similarly, I believe we
 14    A    I'm not certain what you mean by "complete              14 have a standing order as well, and I'm just going
 15 opinion," but it does represent my opinion in this              15 to -- if Andrew knows of anything different, he can
 16 case.                                                           16 chime in and tell me, but just an emailed copy
 17    Q    Is there anything that you would add that is            17 directed to me is fine.
 18 not currently written in your report?                           18             THE REPORTER: In that case, the time
 19           MR. BROOKS: Objection.                                19 is 4:23 p.m. We are now off the record.
 20    A    Not that I'm aware of at the moment.                    20             (Signature waived.)
 21    Q    And have you completed all the work                     21             (Whereupon, at 4:23 p.m., the
 22 necessary, in your point of view, in order to draw the          22             proceeding was concluded.)

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  1          CERTIFICATE OF DEPOSITION OFFICER
  2        I, CHRISTOPHER FRIEBE, the officer before
  3 whom the foregoing proceedings were taken, do hereby
  4 certify that any witness(es) in the foregoing
  5 proceedings, prior to testifying, were duly sworn;
  6 that the proceedings were recorded by me and
  7 thereafter reduced to typewriting by a qualified
  8 transcriptionist; that said digital audio recording of
  9 said proceedings are a true and accurate record to the
 10 best of my knowledge, skills, and ability; that I am
 11 neither counsel for, related to, nor employed by any
 12 of the parties to the action in which this was taken;
 13 and, further, that I am not a relative or employee of
 14 any counsel or attorney employed by the parties
 15 hereto, nor financially or otherwise interested in the
 16 outcome of this action.
 17 Dated:
 18 April 19, 2024
 19
                   <%32793,Signature%>
 20                           CHRISTOPHER FRIEBE
 21                   Notary Public in and for the
 22                           State of Michigan
                                                         Page 211
  1           CERTIFICATE OF TRANSCRIBER
  2        I, NICHOLE RYAN, do hereby certify that this
  3 transcript was prepared from the digital audio
  4 recording of the foregoing proceeding, that said
  5 transcript is a true and accurate record of the
  6 proceedings to the best of my knowledge, skills, and
  7 ability; that I am neither counsel for, related to,
  8 nor employed by any of the parties to the action in
  9 which this was taken; and, further, that I am not a
 10 relative or employee of any counsel or attorney
 11 employed by the parties hereto, nor financially or
 12 otherwise interested in the outcome of this action.
 13 Dated:
 14 April 19, 2024
 15
 16
                   <%22822,Signature%>
 17                              NICHOLE RYAN
 18
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 20
 21
 22

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                    Federal Rules of Civil Procedure

                                    Rule 30



       (e) Review By the Witness; Changes.

       (1) Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording is available in which:

       (A) to review the transcript or recording; and

       (B) if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2) Changes Indicated in the Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f)(1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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        COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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